      Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 1 of 59


                                                                              USDC SDNY
UNITED STATES DISTRICT COURT                                                  DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                 ELECTRONICALLY FILED
H. CRISTINA CHEN-OSTER, LISA PARISI, SHANNA                                   DOC #: _________________
ORLICH, ALLISON GAMBA, and MARY DE LUIS,                                      DATE FILED: 3/17/2022

                                   Plaintiffs,

                 -against-                                                       10 Civ. 6950 (AT) (RWL)

GOLDMAN, SACHS & CO. and THE GOLDMAN
SACHS GROUP, INC.,                                                                         ORDER

                        Defendants.
ANALISA TORRES, District Judge:

        Plaintiffs H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba, and Mary De Luis,1

representing a class of female employees of Goldman, Sachs & Co. and The Goldman Sachs

Group, Inc. (collectively, “Goldman Sachs” or “Defendants”), filed this class action alleging

gender discrimination under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§ 2000e et seq., and the New York City Human Rights Law (the “NYCHRL”), N.Y.C. Admin.

Code § 8-101 et seq.

        Before the Court are the parties’ motions to exclude expert testimony, ECF Nos. 1184,

1187, Defendants’ motion for decertification of the class, ECF No. 1194, Defendants’ motion for

summary judgment, ECF No. 1239, and Plaintiffs’ motion for partial summary judgment, ECF

No. 1247. For the reasons stated below, the parties’ motions to exclude expert testimony are

GRANTED in part, and DENIED in part; Defendants’ motion to decertify the class is DENIED;

Plaintiffs’ motion for summary judgment is DENIED; and Defendants’ motion for summary

judgment is GRANTED in part, and DENIED in part.




1
 Originally, Lisa Parisi was also a named plaintiff. Compl. ¶¶ 15–16, ECF No. 5. Because Parisi’s claims are
subject to a binding arbitration agreement, see ECF No. 171; Parisi v. Goldman, Sachs & Co., 710 F.3d 483 (2d Cir.
2013), she is no longer a plaintiff, see generally Second Am. Compl., ECF No. 411.
         Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 2 of 59




                                              BACKGROUND2

    I.       Goldman Sachs

          Goldman Sachs is a leading financial services company that has four revenue-generating

divisions—Investment Banking, Investment Management, Securities, and Merchant Banking.

Defs. 56.1 ¶¶ 1–6, ECF No. 1241. These divisions are split into numerous specialized business

units. See, e.g., ECF No. 265-1. Plaintiffs worked in three of the revenue generating divisions.

See Class Cert. Order at 2–4, ECF No. 578. In these three divisions, Goldman Sachs employed

two systems for evaluating employees, known as “360 review” and “quartiling.” Pls. 56.1 ¶ 1,

ECF No. 1257. For promotions from Vice President to Managing Director, Goldman Sachs used

a process called “cross-ruffing.” Class Cert. Order at 8–10.

             A. Performance Evaluation

                      1. 360 Review

          Goldman Sachs employees in the Investment Banking, Investment Management, and

Securities Divisions underwent the 360 review process. Pls. 56.1 ¶ 1. First, each employee

performed a self-evaluation and named 8 to 12 evaluators—subordinates, bosses, peers, and

internal clients—with whom he or she had recently worked to provide reviews of his or her

performance. Id. ¶ 2; Defs. 56.1 ¶ 13. Evaluators assessed employees on criteria that were the

same across the three divisions in any given year. Pls. 56.1 ¶ 3. Finally, the employee’s

manager received the reviews, added their own evaluations, created a narrative summary of all of

the reviews, and discussed the overall review with the employee. Defs. 56.1 ¶¶ 18–19. In 2016,

the 360 review process shifted to being primarily used as a development tool rather than a



2
  The following facts are drawn from the parties’ Rule 56.1 statements of undisputed facts, and the opposing party’s
response. Disputed facts are so noted. Citations to a paragraph in the Rule 56.1 statement also include the opposing
party’s response.

                                                         2
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 3 of 59




compensation determination tool. Landman Decl. ¶¶ 6, 20, ECF No. 1250-5; Landman Dep. at

82, 88, ECF No. 1289-8.

                   2. Quartiling

       Goldman Sachs also utilized “quartiling,” in which managers assigned each employee to

one of five “quartiles” until 2016 and to one of four “quartiles” from 2016 to 2018. Landman

Decl. ¶ 26; Farber Report ¶ 35, ECF No. 1188-3. Managers took into account a number of

criteria, including the 360 reviews and quality of performance. ECF Nos. 1258-18 at 1, 1258-19

at 3. The purpose of quartiling was to identify the top, middle, and bottom performers relative to

their peers. Defs. 56.1 ¶ 22. These quartiles, along with other data points, were used to

determine compensation. Pls. 56.1 ¶ 12; ECF No. 1258-18 at 1.

            B. Promotion

       At Goldman Sachs, promotion from Vice President to Managing Director did not involve

an application process. Rather, throughout the class period, business unit heads and other

managers develop lists of candidates for promotion in each of the relevant divisions. Defs. 56.1

¶¶ 24–25, 31; Pls. 56.1 ¶ 14. Cross-ruffers, the name given to the evaluators, interview roughly a

dozen people familiar with the candidates’ work, including managers, peers, and internal clients,

then develop a ranked list of candidates based on the interviews. Id. ¶¶ 28–30. The cross-ruffers

then submit this list to division heads and Goldman Sachs’ management committee. Pls. 56.1

¶¶ 21–22.

       The parties contest whether the “cross-ruffing” refers to the entire promotion process or

only the second step in the process. Compare Pls. Summ. J. Opp’n at 26–28, ECF No. 1310,

with Defs. Summ. J. Mem. at 12, 22, ECF No. 1240. In certifying the class, the Court considered




                                                3
      Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 4 of 59




the term “cross-ruffing” to include the full promotion process—both selecting the candidates and

vetting them. See Class Cert. Order at 8–10, 27, 30–31.

    II.      Procedural History

          On September 16, 2010, Plaintiffs Chen-Oster, Parisi, and Orlich filed a class action

alleging intentional discrimination, disparate impact discrimination, retaliation, and pregnancy

discrimination claims under Title VII and the NYCHRL.3 See Compl. The Honorable Leonard

B. Sand originally presided over this case before it was reassigned to the undersigned on May 24,

2013. ECF No. 181.

          On March 30, 2018, the Court certified a class consisting of female Associates and Vice

Presidents employed in the United States by Goldman Sachs and its predecessors in three of the

revenue-generating divisions—Investment Banking, Investment Management, and Securities—

who were subject to 360 review, quartiling, or cross-ruffing, pursuant to Federal Rule of Civil

Procedure 23(b)(3) (the “Class Certification Order”). See Class Cert. Order at 22–49. The class

includes (1) female Associates and Vice Presidents in the three divisions who were subject to

either 360 review, quartiling, or both 360 review and quartiling from July 7, 2002 for those based

in New York City and from September 10, 2004 for all other U.S.-based individuals through the

resolution of this action, and (2) female Vice Presidents from the three divisions who were

subject to the cross-ruffing process during the same time periods. See id. The Court concluded

that certification was warranted because Plaintiffs had demonstrated that Defendants had

employed a “common mode of exercising discretion,” through the three processes, to support a

disparate impact class. Class Cert. Order at 24–28, 41 (citation omitted). The Court found that

class resolution was also appropriate for Plaintiffs’ disparate treatment claim, which relied on the


3
 Plaintiffs Gamba and De Luis were added in the second amended complaint and Plaintiff Parisi was removed. See
Second Am. Compl.

                                                      4
         Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 5 of 59




same statistical evidence.4 Id. at 41, 45–47. On July 12, 2021, the parties’ filed motions to

exclude expert testimony. ECF Nos. 1184, 1187. On July 22, 2021, Defendants filed their

motion for decertification of the class. ECF No. 1194. Finally, on August 9, 2021, the parties

filed cross-motions for summary judgment. ECF Nos. 1239, 1247. The Court addresses each in

turn.

                                                  DISCUSSION5

    I.       Expert Testimony

          The parties cross-move to exclude the opinions, reports, and testimony of certain experts

under Federal Rule of Evidence 702. ECF Nos. 1184, 1187.

             A. Legal Standard

          The admissibility of expert testimony is governed by Federal Rule of Evidence 702. The

rule provides, in relevant part, that “[a] witness who is qualified as an expert by knowledge, skill,

experience, training, or education may testify in the form of an opinion” if:

                  (a) the expert’s scientific, technical, or other specialized
                  knowledge will help the trier of fact to understand the evidence or
                  to determine a fact in issue;
                  (b) the testimony is based on sufficient facts or data;
                  (c) the testimony is the product of reliable principles and methods;
                  and
                  (d) the expert has reliably applied the principles and methods to the
                  facts of the case.

Fed. R. Evid. 702.


4
  The Court did not certify the disparate treatment “boy’s club” claim, which would have used anecdotal evidence of
a “boy’s club” culture to demonstrate disparate treatment. Class Cert. Order at 47–49.
5
  Portions of the briefs, expert reports, and other documents discussed in this order were filed under seal or redacted.
These materials are “judicial documents,” as they are “relevant to the performance of the judicial function and useful
in the judicial process.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006); see also Bernstein
v. Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 139 (2d Cir. 2016). To the extent that information in
those documents is disclosed in this order, the privacy and business interests that justified their sealing or redaction
are outweighed by “the public’s right of access to [information] necessary to understand the basis for court
rulings.” Spinelli v. Nat'l Football League, 903 F.3d 185, 193 n.2 (2d Cir. 2018); see also Dodona I, LLC v.
Goldman, Sachs & Co., 119 F. Supp. 3d 152, 155 (S.D.N.Y. 2015).

                                                           5
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 6 of 59




       District courts are the gatekeepers of expert testimony, responsible for “ensuring that an

expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.”

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993). “[T]he proponent of

expert testimony has the burden of establishing by a preponderance of the evidence that the

admissibility requirements of Rule 702 are satisfied.” United States v. Williams, 506 F.3d 151,

160 (2d Cir. 2007).

       Courts first address “the threshold question of whether a witness is ‘qualified as an expert

by knowledge, skill, experience, training, or education’ to render his or her opinions.” Nimely v.

City of New York, 414 F.3d 381, 396 n.11 (2d Cir. 2005) (quoting Fed. R. Evid. 702). After

considering the expert’s qualifications, courts determine whether the expert testimony is reliable.

In determining reliability, the court considers “the theory’s testability, the extent to which it ‘has

been subjected to peer review and publication,’ the extent to which a technique is subject to

‘standards controlling the technique’s operation,’ the ‘known or potential rate of error,’ and the

‘degree of acceptance’ within the ‘relevant scientific community.’” United States v. Romano,

794 F.3d 317, 330 (2d Cir. 2015) (quoting Daubert, 509 U.S. at 593–94). “A minor flaw in an

expert’s reasoning or a slight modification of an otherwise reliable method will not render an

expert’s opinion per se inadmissible.” Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256,

267 (2d Cir. 2002). Rather, “[t]he judge should only exclude the evidence if the flaw is large

enough that the expert lacks good grounds for his or her conclusions.” Id. (quotation marks and

citation omitted). “The mere fact that an expert’s testimony conflicts with the testimony of

another expert or scientific study does not control admissibility.” In re Zyprexa Prods. Liab.

Litig., 489 F. Supp. 2d 230, 285 (E.D.N.Y. 2007).




                                                  6
      Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 7 of 59




         Even after qualifying a witness as an expert, and determining that the opinion is reliable,

courts ask “whether the expert’s testimony (as to a particular matter) will assist the trier of fact.”

Nimely, 414 F.3d at 397 (internal quotation marks and citations omitted). The testimony must be

relevant, and it should not be “directed solely to lay matters which a jury is capable of

understanding and deciding without the expert’s help.” Arista Records LLC v. Lime Grp. LLC,

No. 06 Civ. 5936, 2011 WL 1674796, at *4 (S.D.N.Y. May 2, 2011) (quoting United States v.

Mulder, 273 F.3d 91, 104 (2d Cir. 2001)).

         Although the proponent of expert testimony bears the burden of establishing by a

preponderance of the evidence that the admissibility requirements of Rule 702 are met, Williams,

506 F.3d at 160, the district court is the ultimate gatekeeper, see Fed. R. Evid. 104(a). Exclusion

of expert testimony is “the exception rather than the rule.” Media Glow Digital, LLC v.

Panasonic Corp. of N. Am., No. 16 Civ. 7907, 2019 WL 1055527, at *1 (S.D.N.Y. Mar. 6, 2019)

(quoting Advisory Committee Notes to the 2000 Amendments to Fed. R. Evid. 702).

             B. Plaintiffs’ Experts

         Defendants move to exclude the testimony, in part or in whole, of four experts proffered

by Plaintiffs. Defs. Daubert Mot., ECF No. 1187. The Court shall address each expert in turn.6

                      1. Caren Goldberg, Ph.D.

         Plaintiffs offer the testimony of Caren Goldberg, Ph.D., on “Defendant Goldman Sachs’

policies, practices, and procedures with respect to diversity and inclusion and on whether its

climate is tolerant of gender bias and harassment.” Goldberg Report ¶ 1, ECF No. 1188-4. Her

report concludes that Goldman Sachs “maintained a climate tolerant of bias and harassment” and



6
  Plaintiffs have represented that the opinion of David Yermack, Ph.D., need not be addressed if the opinion of Brian
Dunn is excluded. See Pls. Daubert Opp’n at 1, ECF No. 1262. Because the Court excludes Dunn’s opinion, see
infra Part I.C.4, the Court DENIES as moot Defendants’ motion to exclude Yermack’s opinion.

                                                         7
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 8 of 59




failed to meaningfully address diversity at the firm. Id. ¶ 13. Defendants do not contest

Goldberg’s qualifications; rather, they seek to exclude her testimony on the grounds that her

opinion is irrelevant to the certified claims, is methodologically flawed, and is not within the

ambit of an expert opinion because it functions as a legal brief and opines on matters a jury is

capable of understanding without the aid of an expert. Defs. Daubert Mem. at 10, ECF No.

1188.

        For an opinion to be admissible, it must be “sufficiently tied to the facts of the case that it

will aid the jury in resolving a factual dispute.” E.E.O.C. v. Bloomberg, No. 07 Civ. 8383, 2010

WL 3466370, at *6 (S.D.N.Y. Aug. 31, 2010) (quoting Daubert, 509 U.S. at 591). Expert

evidence is not immune from the relevance requirement of Federal Rule of Evidence 401.

United States v. Khan, 787 F.2d 28, 34 (2d Cir. 1986). Defendants first seek to exclude

Goldberg’s testimony because it references Goldman Sachs’ policies that Defendants contend are

relevant only to the uncertified “boy’s club” theory of disparate treatment. Defendants argue,

therefore, that Goldberg’s opinion is irrelevant to the certified liability claims. Defs. Daubert

Mem. at 11–13; Class Cert. Order at 45–47. Although the Court did not certify claims based on

anecdotal evidence, the Court recognizes that at trial Defendants may seek to present evidence

related to their policies, practices, and procedures with respect to diversity and inclusion to rebut

Plaintiffs’ disparate treatment claims. See United States v. City of New York (City of New York

III), 717 F.3d 72, 84–86 (2d Cir. 2013). If Defendants present this evidence, they will put these,

and other related policies, at issue. Id. In this scenario, Goldberg’s opinion will likely be

relevant because it would contradict the evidence adduced by Defendants. See June 25, 2019

Order at 1–2, ECF No. 767; Oct. 7, 2019 Order at 7–8, ECF No. 873. Therefore, if Defendants




                                                   8
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 9 of 59




put their policies at issue at trial, Goldberg’s opinion shall be admissible to the extent it is

relevant to respond to that evidence.

        Defendants also argue that Goldberg’s opinion should be excluded because it will not aid

the jury’s understanding of the facts. Defs. Daubert Mem. at 13–14, 18–19. The Court

disagrees. Although experts may not reach the ultimate issue or “function[] as little more than a

legal brief that parrots [the] plaintiffs’ arguments,” Choi v. Tower Research Cap. LLC, 2 F.4th

10, 20 (2d Cir. 2021), they may provide context to the jury to aid its understanding of the facts,

United States v. Brown, 776 F.2d 397, 400–01 (2d Cir. 1985). In her report, Goldberg provides

frameworks to aid the jury in “understand[ing] the evidence better and provid[es] [it] with the

necessary tool[s] to make [the] ultimate determination.” Fin. Guar. Ins. Co. v. Putnam Advisory

Co., No. 12 Civ. 7372, 2020 WL 4251229, at *4 (S.D.N.Y. Feb. 19, 2020) (citation omitted).

The average juror may know about diversity and inclusion policies; however, they likely lack a

framework to analyze employment policies and their implementation, and to determine if the

policies are effective in improving diversity and inclusion. Goldberg will assist the jury in

evaluating Defendants’ institutional culture and climate, which may be relevant to the disparate

treatment claims. See City of New York III, 717 F.3d at 83–85.

        Defendants also seek to exclude Goldberg’s testimony because she relies on materials

provided by Plaintiffs’ counsel at Goldberg’s request. See Defs. Daubert Mem. at 14–15;

Goldberg Dep. at 142–150, ECF No. 1263-5. It is logical that experts would receive materials

from counsel as they would have no other way to access non-public documents produced in

discovery. Indeed, Defendants similarly provided their experts with requested materials. See,

e.g., Dunn Dep. at 121, ECF No. 1263-12. Defendants present no evidence that Plaintiffs’

attorneys cherry-picked the information given to Goldberg or did not give her all the information



                                                   9
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 10 of 59




she requested. Defs. Daubert Mem. at 15. And, to the extent Defendants fault Goldberg for not

crediting certain documents that may contradict her opinions, id. at 16–17, those critiques go to

the weight of the opinion, not its admissibility, Daniels v. City of New York, No. 16 Civ. 9080,

2018 WL 5919307, at *5 (S.D.N.Y. Nov. 13, 2018).

       Finally, Defendants contend that Goldberg’s methodology does not comport with best

practices because she did not retain notes about how she selected information for inclusion in her

report. Defs. Daubert Mem. at 17–18. Contrary to Defendants’ assertion, Goldberg kept a

record of all of the materials she reviewed. Goldberg Report at Apps. 2–4; Goldberg Rebuttal at

App. A, ECF No. 1188-13. She did not, however, retain the excerpts of the materials that she

pulled to potentially include in her report, which the parties refer to as the “second order codes.”

Goldberg Dep. at 174–75. Although she did not retain the second order codes, Goldberg’s case

study conforms to the acceptable norms of her scientific community, which has not focused on

the replicability of research. See Herman Aguinis & Angelo M. Solarino, Transparency &

Replicability in Qualitative Research, 40 Strategic Mgmt. J. 1291, 1292 (2019), ECF No.

1263-15. Finally, by maintaining records of all the materials she reviewed, Goldberg adhered to

the expectations of experts in this district. Cf. LVL XIII Brands, Inc. v. Louis Vuitton Malletier

S.A., 209 F. Supp. 3d 612, 644–45 (S.D.N.Y. 2016) (excluding expert for not maintaining a

record of materials reviewed).

       Accordingly, Defendants’ motion to preclude Goldberg from testifying is DENIED.

                   2. Sarah Butler

       Plaintiffs offer the testimony of Sarah Butler, a Managing Director at NERA Economic

Consulting, to rebut the testimony of Margaret Stockdale, Ph.D., an expert for Defendants who

analyzed Goldman Sachs’ People Survey (the “People Survey”), a biannual employee experience



                                                 10
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 11 of 59




survey. Butler Report ¶¶ 1, 8–9, 19, ECF No. 1188-11. Specifically, Butler was asked to review

Stockdale’s conclusion that the People Survey “shows that women believed Goldman Sachs has

an inclusive and collaborative culture, often have similar perceptions as men, and do not perceive

Goldman Sachs to have a hostile or biased climate.” Id. ¶ 8. Butler opines that Stockdale’s

“conclusions are unreliable, not supported by the data, and rely on survey instruments that are

biased and not fit for purpose.” Id. ¶ 10. Defendants move to exclude portions of Butler’s expert

testimony on the ground that she is not qualified to opine on the culture of Goldman Sachs

because she is an expert on survey design and sampling processes, and not an expert on assessing

workplace culture or gender discrimination. Defs. Daubert Mem. at 20–22. They further allege

that her methodology is unreliable and not replicable. Id. at 22–28.

        The Court rejects Defendants’ argument that Butler’s conclusions are separate opinions

on the culture of Goldman Sachs that are detached from her analysis of the surveys, see id. at 21.

Clearly, Butler’s conclusions flow from her analysis of the surveys, see In re Rezulin Prod. Liab.

Litig., 369 F. Supp. 2d 398, 426 (S.D.N.Y. 2005), and are within her expertise of survey design

and sampling processes, Butler Report ¶¶ 1–4. For example, Defendants take issue with Butler’s

statement: “These data suggest that over time and across questions[,] there are patterns

indicating women are less likely to believe they have been fairly treated with respect to

compensation.” Defs. Daubert Mem. at 21 (quoting Butler Report ¶ 44) (emphasis omitted).

This phrasing is a common way to report statistical findings7; it does not represent an opinion

beyond Butler’s expertise. Defendants also take issue with Butler’s statement that the data in

Goldman Sachs’ Exit Survey (the “Exit Survey”), a survey given to departing employees, may be

biased because individuals may fear repercussions from airing grievances. See id. (quoting


7
 See, e.g., University of Washington Psychology Writing Center, Reporting Results of Common Statistical Tests in
APA Format, https://psych.uw.edu/storage/writing_center/stats.pdf (last visited Mar. 17, 2022).

                                                       11
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 12 of 59




Butler Report ¶ 59). Again, this opinion is within Butler’s expertise regarding survey design

because it goes to possible bias created by the design of the Exit Survey. See Butler Report ¶ 59.

As Defendants concede that Butler is qualified on the issues of survey design and statistical

analysis, and her experience in this area confirms her qualifications, her statements regarding her

analysis and opinions on the design and findings of the People Survey and the Exit Survey are

within her area of expertise, and the Court shall not exclude them.

         Defendants argue that Butler’s content analysis,8 which looks at the frequency at which

certain terms are mentioned by female employees and seeks to show that “some male employees

may have been adverse to diversity efforts,” Butler Report ¶¶ 62–67, should be excluded on the

ground that her methodology is flawed, Defs. Daubert Mem. at 22–28. The Court agrees. Butler

does not provide a sufficient explanation as to how she decided on the terms used in the content

search, and, more importantly, why she classified the terms into the different categories. For

example, she does not explain why “responsibility” is in the compensation category rather than

under promotions, experience, or performance. See Butler Report, Ex. C. Butler’s failure to

offer an explanation is exacerbated by the lack of a verification mechanism to ensure that the

terms were properly categorized. See Butler Dep. at 226–28, ECF No. 1188-22. Absent such

verification, the Court cannot conclude that her methodology is reliable because it is not clear

whether the terms are related to the categories into which she placed them and, therefore, it is not

clear if the data supports her conclusions. See Riegel v. Medtronic, Inc., 451 F.3d 104, 127 (2d

Cir. 2006).




8
  “Content analysis is a research method that uses a set of procedures to make valid inferences from text.” Robert P.
Weber, Basic Content Analysis 9 (2d ed., 1990). The analysis involves categorizing words. Id. at 12. For the
inference to be valid, the “classification procedure [must] be reliable in the sense of being consistent” and must
“measure or represent what the investigator intends it to measure.” Id.

                                                         12
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 13 of 59




        Accordingly, Defendants’ motion to preclude Butler from testifying as to paragraphs 62

through 67 of her report is GRANTED, and Defendants’ motion to preclude Butler from

testifying as to the remainder of her report is DENIED.

                      3. Henry Farber, Ph.D.

        Plaintiffs offer the opinion of Henry Farber, Ph.D., an economics professor at Princeton

University, to analyze whether the 360 review, quartiling, and cross-ruffing processes impacted

women differently from their male counterparts and to explain if this impact accounts for

compensation and promotion differences between men and women. Farber Report ¶¶ 1, 6.

Farber examines this question by running multiple regression analyses that looked at the way

these policies affected compensation by gender. See id. ¶¶ 53–57, 60. Defendants move to

exclude all of Farber’s expert testimony. Defs. Daubert Mot. They do not question his

qualifications, but challenge his methodological decisions and the relevance of his opinions for

Phase I of this case.9 Defs. Daubert Mem. at 36–37. The Court shall address each of

Defendants’ arguments in turn.10

                               a. Aggregation Across Divisions

        Defendants first argue that Farber’s analyses are fatally flawed because he does not

disaggregate the data used in his regression analysis by division and run separate models for each

division. Id. at 38–44. They contend that because the divisions interpret and implement aspects


9
  As the Court has explained, this case shall proceed in two phases. “Phase I [shall] be devoted to generalizable
proof of the alleged discriminatory impact and treatment of women through [the] three practices.” June 25, 2019
Order at 1–2; Oct. 7, 2019 Order at 2. Phase II shall address issues affecting individual class members. June 25,
2019 Order at 2. This type of bifurcation between liability and remedial phases is commonly used in class actions
alleging discrimination. See Reynolds v. Barrett, 685 F.3d 193, 203 (2d Cir. 2012).
10
   Defendants, discussing a different expert, mention in a footnote that Farber’s analysis of internal transfers is
unreliable. Defs. Daubert Mem. at 32 n.21. They do not make any argument regarding internal transfers in relation
to Farber beyond this lone footnote. The Court shall not address this argument, which was not properly presented to
the Court. See Phoenix Light ST Limited v. Bank of New York Mellon, No. 14 Civ. 10104, 2017 WL 3973951, at
*22 n.41 (S.D.N.Y. Sept. 7, 2017) (“An argument mentioned only in a footnote is not adequately raised” (quoting
Shah v. Wilco Sys., Inc., 76 Fed. Appx. 383, 384 (2d Cir. 2003))).

                                                        13
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 14 of 59




of the compensation and promotion processes differently, aggregation is improper. Id. at 39–41.

They further argue that Farber should have tested his decision not to disaggregate, and absent

such testing, Farber’s opinion is “insufficiently ‘scientific’ to be admissible under Rule 702.” Id.

at 42 (citation omitted).

       Farber admits that there is sufficient data to run the models disaggregated by division for

the 360 review and quartiling processes. Farber Dep. at 178–180, ECF No. 1225-59. Because

there is no solid statistical reason for the decision to pool or not pool the data, the expert must

make a judgment call based on methodological considerations, which the expert must justify

with a “methodological explanation for why” their decision is appropriate. See Reed Const. Data

Inc. v. McGraw-Hill Cos., Inc., 49 F. Supp. 3d 385, 406–07 (S.D.N.Y. 2014), aff’d, 638 F. App’x

43 (2d Cir. 2016). There is no requirement that an expert run a specific analysis, so long as they

have a methodological explanation for the analysis they chose. Id.; see also Taylor v. District of

Columbia Water & Sewer Auth., 241 F.R.D. 33, 43 (D.D.C. 2007).

       Farber provides a valid, reasonable explanation for his modeling decision. In his

deposition, he stated that looking at each division in isolation “was not the goal of [his]

analysis.” Farber Dep. at 177–78. Because he “was analyzing a company-wide policy,” he

“chose not to do it separately by division.” Id.; see also id. at 180, 378–380; Farber Rebuttal

¶¶ 45–48, 76, ECF No. 1188-12. Moreover, Plaintiffs claim that the processes are the same

across the three divisions, Pls. Daubert Opp’n at 5–7, ECF No. 1262, a conclusion Farber agrees

with based on his review of the data, see Farber Rebuttal ¶ 48. Therefore, Farber’s decision not

to disaggregate, does not render the opinion “unreliable” or methodologically flawed such that

exclusion is appropriate. Romano, 794 F.3d at 330.




                                                  14
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 15 of 59




                           b. Cross-ruffing

       Defendants argue that Farber’s opinion on cross-ruffing should be excluded because he

looks at the full Vice President-to-Managing Director promotion process, rather than only the

evaluation step in which the cross-ruffers assess the list of candidates for promotion. Defs.

Daubert Mem. at 47–49. Defendants further contend, that, even if Farber assesses both steps, he

should have disaggregated his analysis to consider the nomination and interview stages

separately. Id. The Court finds both arguments unpersuasive.

       To make a claim relying on statistical evidence, a plaintiff must identify a “specific

discriminatory employment practice.” See Chin v. Port Auth. of N.Y. and N.J., 685 F.3d 135,

154 (2d Cir. 2012). But, Title VII expressly provides that, if the plaintiff can demonstrate to the

Court “that the elements of a [defendant’s] decisionmaking process are not capable of separation

for analysis, the decisionmaking process may be analyzed as one employment practice.”

42 U.S.C. § 2000e-2(k)(1)(B)(i). “Whether a particular decisionmaking process is capable of

separation for analysis largely turns on the details of the specific process and its implementation

in a given case.” Chin, 685 F.3d at 154. Here, Plaintiffs have met their burden of showing that

the promotion process is a single employment practice as a matter of law.

       First, the subcomponents Defendants propose are not particular employment practices but

rather two interwoven steps of one singular promotion practice. See id. at 154–55. It is the

process, not the individual steps, that determines whether someone receives a promotion. Id.

(describing a similar promotion process). As noted above, the Court’s prior decisions indicate

that it understands cross-ruffing to be a single promotion process that encompasses both

nomination and evaluation by cross-ruffers, which together leads to the ultimate promotional

decisions. See Class Cert. Order at 8–10 (“[T]he vetting process for promoting Vice Presidents



                                                15
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 16 of 59




to Managing Directors is known as ‘cross-ruffing.’” (citations omitted)). The Court considers

this promotional process as one of the employment practices at issue in this case. See id.

        Second, Plaintiffs have demonstrated that separate analysis would yield inadequate

sample sizes. Farber Rebuttal ¶ 81. Promotion to Managing Director is rare, with an average of

73 promotions per year. Shaw Report ¶ 224, ECF No. 1192-9.11 Only 204 women were

promoted to Managing Director from 2003 to 2018. Farber Report ¶¶ 125, 132–133. The

subcomponents are, therefore, not capable of separate analysis because of the small sample size

at issue. See Farber Rebuttal ¶ 81. Thus, the Court finds that Farber articulates a “solid

statistical reason for [the] decision to pool the data” regarding the different subcomponents of the

cross-ruffing process and shall not exclude his opinion on this basis. Reed Const. Data Inc., 49

F. Supp. 3d at 407.

                               c. 360 Review from 2002 to 2004

        Defendants argue that Farber’s analysis of the 360 review process from 2002 to 2004

should be excluded because of the small sample size. Defs. Daubert Mem. at 49–50. The Court

agrees. The 360 review process began producing data in 2003, Farber Report ¶ 45, so there is no

data for 2002. For 2003 and 2004, there were only seventeen 360 reviews from two of the

divisions. ECF No. 1188-30. Absent the use of oversampling,12 there is insufficient data in two

of the divisions for 2003 and 2004 to allow a classwide analysis, as any analysis in those two

years will over-represent the one division with sufficient data. Exclusion is appropriate when an

expert does not show that his data is “a fair proxy” for the process he claims to be analyzing,



11
  Defendants put forward Kathryn Shaw, Ph.D., as a rebuttal expert to Farber. Shaw Report ¶ 19.
12
  Oversampling is a “sampling strategy in which certain subsets of participants are overrepresented in a study group
compared to the larger population in which they are drawn.” Am. Psych. Assoc., Oversampling,
https://dictionary.apa.org/oversampling (last visited Mar. 17, 2022). Oversampling is done to ensure that certain
groups, in this case data from certain years, that are small in size are adequately represented in the analysis. See
Gulino v. Bd. of Educ. of City Sch. Dist. (Gulino IV), 113 F. Supp. 3d 663, 679–81 (S.D.N.Y. 2015).

                                                        16
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 17 of 59




here, the 360 reviews of all three divisions. See Apple v. Atl. Yards Dev. Co., No. 11 Civ. 5550,

2015 WL 11182422, at *6, 9–10 (E.D.N.Y. Mar. 31, 2015); see also Fed. R. Evid. 702(b) (an

opinion must be “based on sufficient facts or data”). The Court shall, therefore, preclude Farber

from offering his opinions on the 360 review process for 2002 to 2004.13

                                d. Causation and Residuals

         Defendants next move to exclude Farber’s opinion that the residuals14 of his regression

analyses are “sex discrimination.” Defs. Daubert Mem. at 50–51. They object to that label both

on statistical grounds and as an improper legal conclusion. Id.

         Defendants contend that Farber’s regression analyses are flawed because he excludes

from his analyses production variables, which attempt to capture an individual’s productivity in a

manner relevant to their role. Id. Farber explains that he excludes production variables because

he suspected that they may be affected by gender bias, as the production variables are dependent

on assignments controlled by Defendants, and, therefore, using them could introduce bias into

the analyses. Farber Rebuttal ¶ 53. Additionally, because data on productivity is not available

across the class or across divisions, and is often reported at the group, rather than the individual

level, Farber reasons that inclusion of the variables would not truly compare employees on the


13
   Plaintiffs argue that Defendants are precluded from making arguments about the lack of data for 2002 to 2004
because of an agreement made in 2012 permitting Defendants not to produce data from an old database. Pls.
Daubert Opp’n at 14–15. Because Defendants agreed not to contest the data for 2002 to 2004 only “for the purposes
of class certification,” ECF No. 159 at 40, the Court does not consider this agreement relevant here.
14
   A residual in a regression analysis is “the difference between the value of an empirical observation and the value
predicted by a model.” Am. Psych. Assoc., Residual, https://dictionary.apa.org/residual (last visited Mar. 17, 2022).
In employment discrimination cases, “[b]y identifying those legitimate criteria that affect the decision[-] making
process, [] plaintiffs can make predictions about what job or job benefits similarly situated employees should ideally
receive, and then can measure the difference between the predicted treatment and the actual treatment of those
employees. If there is a disparity between the predicted and actual outcomes for female employees, plaintiffs in a
disparate treatment case can argue that the net ‘residual’ difference represents the unlawful effect of discriminat[ion]
[] on the allocation of jobs or job benefits.” Ottaviani v. State Univ. of N.Y. at New Paltz, 875 F.2d 365, 367 (2d Cir.
1989) (emphasis in original). Specifically, “[b]y accounting for all of the ‘legitimate’ factors that could affect
[compensation] and [promotions] in general, the plaintiffs hope[] to prove that there was a net ‘residual’ difference
or disparity between the predicted and actual [compensation] and [promotion] of female [employees] that could only
be attributed to ongoing gender discrimination [by defendants].” Id.

                                                          17
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 18 of 59




issue of productivity. Id. ¶¶ 55, 57. Although production may be a variable worthy of

consideration, its exclusion does not render Farber’s analysis unacceptable, absent some other

infirmity. Bazemore v. Friday, 478 U.S. 385, 400–01 (1986) (Brennan, J., joined by all other

Members of the Court, concurring in part). As Farber’s decision to exclude production variables

is well-reasoned and there are no other fatal infirmities, his regression analyses are admissible.

Id. His choice to exclude the production variables goes to the weight of his testimony rather than

its admissibility. Reed Const. Data Inc., 49 F. Supp. 3d at 401.

        Moreover, Farber’s finding that the residuals represent gender-based differences is also

founded. The use of statistics in sex discrimination cases is common. See United States v. City

of New York (City of New York II), 731 F. Supp. 2d 291, 300 (E.D.N.Y. 2010) (disparate impact);

City of New York III, 717 F.3d at 85 (disparate treatment). Indeed, the Second Circuit has stated

that “[i]t is apodictic that ‘statistical reports may . . . be admissible to support an inference of

discrimination.’” Bickerstaff v. Vassar College, 196 F.3d 435, 448 (2d Cir. 1999) (quoting

Raskin v. Wyatt Co., 125 F.3d 55, 67 (2d Cir. 1997)). Regression modeling, the form of

statistical analysis Farber used, attempts to eliminate other possible causes, leaving only the

studied variable as the cause of the difference observed, also called the residual. Ottaviani, 875

F.2d 365 at 367. In employment discrimination cases, statistical significance at the 5% level, or

approximately two standard deviations, is sufficient to make a prima facie case. Smith v. Xerox

Corp., 196 F.3d 358, 366 (2d Cir. 1999), overruled on other grounds by Meacham v. Knolls

Atomic Power Lab., 461 F.3d 134 (2d Cir. 2006). Such a statistical significance means that there

is a 5% probability that the difference found is due to chance rather than being caused by the

studied process. Id. Here, Farber’s regression analyses show statistical significance at the 5%

level, so his studies indicates that there is a 5% chance that the residuals (i.e. the difference in



                                                   18
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 19 of 59




treatment) result from something other than differences in the employee’s gender. Farber Report

¶¶ 76, 79, 81–83, 98–102, 104–105, 134–135. The Court, therefore, finds that Farber can testify

that the differences he found were based on gender.

       Defendants next argue that, because Farber was not prepared to make a conclusion about

gender discrimination at the class certification stage, his “about face” should be questioned.

Defs. Daubert Mem. at 50–51. The Court disagrees. Farber’s opinion is methodologically sound

and, therefore, admissible under Federal Rule of Evidence 702. The fact that Farber was not

prepared to state that the residuals represented gender-based differences at the class certification

hearing does not bar him from making that conclusion now, after he has had the opportunity to

update his model to include information ascertained through discovery.

       Furthermore, Defendants argue that Farber’s opinion represents an impermissible legal

conclusion. Id. at 51. “An opinion is not objectionable just because it embraces an ultimate

issue.” Fed. R. Evid. 704(a). It is permissible for Farber to opine that the residuals of his models

represent the gender-based difference because he sufficiently controlled for other plausible

causes of the difference. Even though the opinion embraces the ultimate issue, it does not

preclude the jury from rejecting the opinion. However, to the extent that Farber uses the term

“sex discrimination,” which is a legal term of art, he is making a legal conclusion that is

improper as it usurps the role of the jury. In re Platinum-Beechwood Litig., 469 F. Supp. 3d 105,

115 (S.D.N.Y. 2020). Farber may opine on the residuals and their possible meaning so long as

he does not use the term “sex discrimination.”

                           e. Damages and Compensation

       Defendants move to exclude Farber’s analysis of damages and compensation that is not

tied to the analysis of the three processes at issue. Defs. Daubert Mem. at 45–47, 52–55. The



                                                 19
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 20 of 59




Court has stated that “compensation may be a topic addressed in Phase I insofar as it is

connected to one or more of the three challenged processes.” June 25, 2019 Order at 1–2; see

also Oct. 7, 2019 Order at 5–6. But, damages are beyond the scope of the Phase I trial, which

shall focus on generalizable issues of liability. See ECF No. 657 at 2 (stating damages are part of

Phase II); ECF No. 888 at 3.

       For an opinion to be admissible, it must be “sufficiently tied to the facts of the case that it

will aid the jury in resolving a factual dispute.” Bloomberg, 2010 WL 3466370, at *6 (citation

omitted). To the extent that Farber’s opinion looks at compensation generally to ascertain how

the processes at issue impacted compensation, compensation is relevant, and the Court shall not

exclude those portions of Farber’s opinion. See Oct. 7, 2019 Order at 5–7. To the extent that

Farber’s opinion addresses a historical pay theory whereby compensation is reduced because of

past use of the processes, it goes to damages, rather than liability, and thus, is properly excluded

as irrelevant to the Phase I trial. See Bloomberg, 2010 WL 3466370, at *6. Moreover, to the

extent that Farber’s models are not related to the challenged processes but rather look to show

general pay disparities for damages purposes, they are not relevant to Phase I and are, therefore,

excluded. See Farber Report ¶¶ 136–57; Farber Rebuttal Report ¶¶ 108–19.

       Accordingly, Defendants’ motion to preclude Farber from testifying as to the 360 review

process for 2002 to 2004 and damages is GRANTED, and Defendants’ motion to preclude

Farber from testifying as to the remainder of his reports is DENIED.

           C. Defendants’ Experts

       Plaintiffs move to exclude the opinions of four experts put forward by Defendants. Pls.

Daubert Mot., ECF No. 1184. The Court shall address each expert in turn.




                                                 20
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 21 of 59




                   1. Kathryn Shaw, Ph.D.

       Defendants offer Kathryn Shaw, Ph.D., an economics professor at the Stanford Graduate

School of Business, to rebut Farber’s opinion that the challenged processes resulted in gendered

differences in compensation and promotions. Shaw Report ¶¶ 1, 19. Shaw has an extensive

background in economics research and modeling, focusing on labor economics. Id. ¶¶ 2–14.

Defendants asked Shaw to review Farber’s report, provide a critique, and create her own models

to test Plaintiffs’ gender discrimination claims. Id. ¶ 21. Plaintiffs move to exclude portions of

Shaw’s expert opinion. Pls. Daubert Mot. Specifically, they move to exclude Exhibits 2–9,

20–29, and 31–69, and all related text. Id. Plaintiffs do not challenge Shaw’s experience or

knowledge; however, they do note that she lacks experience in making models for gender

discrimination claims. Pls. Daubert Mem. at 5, 5 n.3, ECF No. 1191.

                           a. Production Variables

       Plaintiffs argue that Shaw’s inclusion of production variables is unsound and the resulting

exhibits and text should be excluded. Id. at 6. They contend that she was not involved in

choosing the variables, cannot explain why certain data types were used to represent

productivity, and did not ensure the variables were measuring what they purported to measure or

that there was sufficient data to use the variables. Id. at 7–11.

       For a regression analysis to be admissible under Daubert, there must be a “predictable

and justifiable methodology,” reflecting modeling choices that are based on “learned

scholarship” and are reasonably supported. Reed Const. Data Inc., 49 F. Supp. 3d at 400.

Expert evidence is properly excluded when there is “too great an analytical gap between the data

and the opinion proffered” to satisfy Rule 702. Laumann v. Nat’l Hockey League, 117 F. Supp.

3d. 299, 319 (S.D.N.Y. 2015) (citation omitted). Typically, including an



                                                 21
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 22 of 59




“irrelevant . . . variable[] [in a regression model] will go to the probative value of the analysis,

not its admissibility.” Sobel v. Yeshiva Univ., 839 F.2d 18, 36 (2d Cir. 1988).

       Contrary to Plaintiffs’ contentions, Shaw did choose the variables she included in her

models and explains why she chose each variable. Shaw Report ¶ 74, App. C; see, e.g., Shaw

Dep. at 105–06, ECF No. 1297-6. Because Shaw explains the reasons for including a production

variable and identifies variables for different subgroups in the three divisions, Shaw Report

¶¶ 74, 151–162, the Court considers her choices methodologically sound. The fact that there is

overlap with a prior expert for Defendants does not invalidate her decision, see Am. Home Assur.

Co. v. Merck & Co., 462 F. Supp. 2d 435, 448 (S.D.N.Y. 2006), nor does the fact that she had

research assistants aiding her in reaching the decision, see Phoenix Light SF Limited v. Bank of

New York Mellon, No. 14 Civ. 10104, 2020 WL 1322856, at *10 (S.D.N.Y. Mar. 20, 2020).

       Plaintiffs are within their right to be concerned that production variables do not exist for

all individuals. See Farber Rebuttal ¶ 55. They further point out that Shaw’s model assumes that

the production variables for those who have them are representative of those who do not. Id.

¶ 58. Farber tested whether there is a correlation between those missing production variables and

other variables of interest. Id. He concludes that missing production data is correlated with

gender and compensation. Id. This indicates that the production variables may introduce bias to

the models. Id. ¶¶ 53, 58. Although Plaintiffs’ concerns are valid, the Court does not find that

they require exclusion of Shaw’s opinion because Shaw cogently articulates her basis for

including the production variables. Shaw Report ¶¶ 151–58, 161, 285. She acknowledges that

the production variables differ, on average, by gender. Id. ¶ 156. And, although Farber views

gender differences as a reason to omit the variables, Farber Rebuttal ¶ 53, Shaw views this

correlation as an indication that part of the gender difference in the residual may be from not



                                                  22
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 23 of 59




correcting for gender differences in production rather than from the processes at issue in this

case. Shaw Report ¶¶ 156–57.

       Moreover, there was production data for the majority of individuals, Farber Rebuttal, Tbl.

7, and Shaw accounts for the missing data by including a missing indicator variable for each

production variable, Shaw Report at App. C. The use of a missing indicator variable is an

accepted way to correct for missing data under these circumstances, even though it may result in

a biased analysis. See Michael P. Jones, Indicator and Stratification Methods for Missing

Explanatory Variables in Multiple Linear Regression, 91 J. Am. Stat. Assoc. 222, 222, 228

(2019). And, so long as the decision to include or exclude a variable is reasonable, the fact that

the choice may “render the analysis less probative than it otherwise might be” goes to weight

rather than admissibility. Cf. Bazemore, 478 U.S. at 400; see also Sobel, 839 F.2d at 36. The

missing data does not, therefore, provide a basis for the Court to exclude Shaw’s analysis.

                          b. Disaggregation Across Divisions

       Plaintiffs next allege that Shaw’s analysis is fatally flawed and irrelevant because it

disaggregates compensation and promotion data by division and business unit instead of

considering the data on a classwide basis. Pls. Daubert Mem. at 16.

       Disaggregation can reduce the statistical power of a model by reducing the sample size

because “[statistical] power increases with sample size. A gender gap of a specific magnitude

(say 15%) is more likely to show up as statistically significant in a regression analysis based on

1,000 observations than in one based on 100 observations.” William T. Bielby and Pamela

Coukos, “Statistical Dueling” with Unconventional Weapons: What Courts Should Know About

Experts in Employment Discrimination Class Actions, 56 Emory L.J. 1563, 1597 (2007).




                                                23
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 24 of 59




        Initially, an expert must show that any decision regarding disaggregation is

methodologically sound. Fed. R. Civ. P. 702(c). Experts should avoid disaggregation when it

would reduce the sample size to the point where statistical modeling is ineffective. See March

10, 2015 Order at 18–21, ECF No. 363. But, even when there is no statistical reason compelling

disaggregation, the decision to disaggregate is not a basis for exclusion so long as the expert

offers a methodological explanation for their decision. Cf. Reed Const. Data Inc., 49 F. Supp. 3d

at 400, 406–07.

        Disaggregating to the business unit level results in sample sizes too small to produce

statistically significant results. See Shaw Report at App. G., Exs. 59, 64. The amount of data at

the business unit level ranges as high as 1,482 person years to as low as 2 person years.15 Id. at

Apps. E, F, G. When the amount of data is small, statistical significance may be impossible to

detect even if there is a causal relationship. Chin, 685 F.3d at 153; see also Shaw Dep. at

314–16. Some business units may have sufficient data to allow analysis; however, others do not.

Disaggregation at the business unit level could mask differences because of the small sample

sizes, see Moussouris v. Microsoft, 311 F. Supp. 3d 1223, 1236 (W.D. Wash. 2018); see also

March 10, 2015 Order at 18–21, making disaggregation at the business unit level

methodologically flawed. The Court, therefore, finds that Shaw’s modeling at the business level

unit is methodologically unsound and should be excluded under Federal Rule of Evidence 702.

        But, there is likely sufficient data to disaggregate at the division level. See Farber Dep. at

178–80 (testifying as to the 360 review and quartiling processes). Plaintiffs argue that because

the issue in the case is whether the companywide policies discriminate against women, the



15
  A “person year” is “the sum of the number of years that each individual in a population has been affected by an
event, occurrence, or condition.” Am. Psych. Assoc., Person-years, https://dictionary.apa.org/person-year (last
visited Mar. 17, 2022).

                                                        24
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 25 of 59




proper level of analysis is companywide, controlling for business unit and division. Pls. Daubert

Mem. at 19. Shaw states that she decided to disaggregate at the division level because she

believes the divisions function differently and are decentralized. Shaw Report ¶¶ 164–68. Shaw

ran Chow tests16 to ascertain if unpooling the divisions was statistically sound and concluded the

divisions should not be analyzed together because the Chow tests showed that the gender

differences were not the same across the divisions. Id. ¶¶ 169–71, 179. Shaw, therefore, offers a

methodologically sound reason to disaggregate the data. Fed. R. Civ. P. 702(c).

         Finally, the Court considers whether the disaggregated models would be helpful to the

jury and relevant to the task at hand. Daubert, 509 U.S. at 596–97. Because this question

depends on how the jury decides to assess the differences and similarities among the various

relevant divisions, the jury—not the Court—must decide if pooled or unpooled data makes more

sense in light of the question asked, the data presented, and the explanations of the experts. In re

Zyprexa, 489 F. Supp. 2d at 285. It is for the jury to decide which theory of the case they find

persuasive. Id. (quoting Daubert, 509 U.S. at 596).

                                c. Outliers

         Shaw excluded predominantly male “outliers” who earned considerably more than others

out of concern that their inclusion would improperly skew her models. Shaw Report ¶¶ 253–59.

Plaintiffs contend that removing high-earning outliers is methodologically flawed, especially in a

gender discrimination case looking at compensation differences between men and women. Pls.

Daubert Mem. at 22–24.

         Shaw ran her model excluding three different groups of alleged outliers: (1) those with

compensation greater than 1.5 times the interquartile range above 75%, (2) the top 5% of earners,


16
  A Chow Test is a statistical test to determine if a model’s coefficients are identical, or equal, across subsets of
data. Shaw Report ¶ 169 n.216; Farber Rebuttal ¶ 44.

                                                           25
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 26 of 59




and (3) the top 10% of earners. Shaw Report ¶ 258, Ex. 34. She concludes that “[t]he estimated

gender gap become[s] more favorable to women once . . . extraordinarily high earners” are

removed, in part, because most of the high earners are men. Id. ¶ 259.

        Even if, as Defendants argue, excluding outliers may be a common practice in

econometrics, Defs. Daubert Opp’n at 24, Defendants do not cite any cases condoning the

practice when the models intend to look at compensation disparities and those excluded are

almost entirely from the unprotected class.17 Outliers should only be removed after “careful

examination” to ensure the outliers are not meaningful for the analysis. See Am. Bar Assoc.,

Econometrics: Legal, Prac. and Tech. Issues § 4.E.1 (2d ed. 2014). Shaw’s own analysis shows

that the outliers she omitted were almost entirely men, which is certainly meaningful when the

regressions at issue are designed to detect gender differences in compensation. Defendants have

not met their burden of demonstrating that removing the outliers is methodologically sound in

this context. Accordingly, Exhibit 34, and the related text, are excluded.

                              d. Cross-Ruffing

        When assessing cross-ruffing, Shaw analyzes the different subcomponents of the cross-

ruffing promotional process separately. Shaw Report ¶¶ 233–37. Plaintiffs argue that this

analysis improperly disaggregates the subcomponents because cross-ruffing is one employment

process. Pls. Daubert Mem. at 24–25. This Court has held, as a matter of law, that cross-ruffing

is one employment process which involves multiple subcomponents incapable of being analyzed




17
  The sources Shaw cites in her report do not address the removal of outliers in models designed to determine if
there is a compensation disparity. For example, in her report she cites Joshua D. Angrist and Alan B. Krueger,
Empirical Strategies in Labor Economics, in Handbook of Labor Economics Vol. 3, 1348–1349 (Orley Ashenfelter
and David Card eds., 1999) for the proposition that she may remove the top 5% and 10% of earners. Shaw Report
¶ 258 n.290. However, in advocating for “trimming” techniques, the cited authors seek to remove “misreported”
data in study samples, Angrist & Krueger at 1347. Shaw is not attempting to remove improperly reported data, and,
therefore, the citation does not support her methodology.

                                                       26
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 27 of 59




separately. See supra Part I.B.3.b. Accordingly, Shaw’s subcomponent analysis of the cross-

ruffing process is excluded as irrelevant and unhelpful to the jury.

       Accordingly, Plaintiffs’ motion to preclude Shaw from testifying as to disaggregation at

the business unit level, the impact of removing outliers, and the subcomponents of the cross-

ruffing process is GRANTED, and Plaintiffs’ motion to preclude Shaw from testifying as to the

remainder of her report is DENIED.

                   2. Margaret Stockdale, Ph.D.

       Defendants offer Margaret Stockdale, Ph.D.’s, opinion on “whether Goldman Sachs has

implemented scientifically-supported and other leading practices that work to provide a culture

and climate that [are] not tolerant of gender bias and that [are] supportive of women and their

career success.” Stockdale Report ¶¶ 6–7, ECF No. 1192-10. Defendants also ask Stockdale to

evaluate Goldberg’s report. Id. ¶ 8. Plaintiffs move to exclude all of Stockdale’s expert

testimony. Pls. Daubert Mot. Plaintiffs do not challenge her credentials to opine on Goldman

Sachs’ corporate climate, they challenge her methodology. Pls. Daubert Mem. at 25–26.

Plaintiffs also challenge Stockdale’s qualifications to assess survey design and survey data as

well as her methodology as it pertains to the People Survey. Id. at 25. Stockdale is a professor

of psychology at Indiana University-Purdue University, specializing in gender issues in the

workplace. Stockdale Report ¶¶ 1–2. She has authored peer-reviewed articles and served as a

consultant to companies on sexual harassment policies and complaint resolution. Id. ¶ 2.

                           a. Corporate Culture

       Plaintiffs contend that, because Stockdale does not explicitly use a specific analytical

framework to guide her analysis, her report is devoid of scientific methodology and “based

entirely on her own feelings about the evidence.” Pls. Daubert Mem. at 26–27. Although



                                                 27
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 28 of 59




Stockdale does not identify a specific analytical framework, she testified that her work is

implicitly grounded in the frameworks used by Goldberg because she is rebutting Goldberg’s

report. Stockdale Dep. at 96–97, ECF No. 1259-7. Additionally, Stockdale’s report is grounded

in the social science methodology of triangulation, Stockdale Report ¶¶ 37–39, and this

methodology has long been accepted in her field, see, e.g., Todd D. Jick, Mixing Qualitative &

Quantitative Methods: Triangulation in Action, 602–611 (1979). Courts have also approved of

methodologies akin to triangulation. See, e.g., Linde v. Arab Bank, PLC, 922 F. Supp. 2d 316,

322–23 (E.D.N.Y. 2013). The Court finds that Stockdale’s opinion on corporate culture is

sufficiently methodologically grounded to satisfy Rule 702.

                          b. Surveys

       Plaintiffs also argue that Stockdale’s use of the People Survey data is deficient. Pls.

Daubert Mem. at 29–35. First, they contend that the data from the People Survey is unreliable

because, as an employer survey, the responses will be “artificial[ly] positiv[e] to avoid negative

repercussions or gain favoritism.” Id. at 30. They also argue that the data from the Exit Survey

is problematic because of a similar positive bias. Id. at 31–32. But, possible bias in the data

underlying an expert’s opinion “is a subject for cross-examination, and goes to the weight, not

the admissibility, of the expert testimony.” Auto. Ins. Co. of Hartford v. Electrolux Home Prod.,

Inc., No. 10 Civ. 0011, 2012 WL 6629238, at *2 (S.D.N.Y. Dec. 20, 2012). Plaintiffs further

contend that Stockdale lacks the expertise to offer an opinion on the survey design and survey

data. Pls. Daubert Mem. at 26, 30. However, Stockdale is well versed in study design and

analysis as evidenced by her teaching of social science research methodology. Stockdale Report

at App. A.




                                                28
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 29 of 59




       Plaintiffs next contend that Stockdale improperly created her own scale to evaluate the

People Survey rather than using the cut-offs used internally by Goldman Sachs. Pls. Daubert

Mem. at 31. Although Stockdale concedes that she created her own scale by collapsing some

categories of responses, Stockdale Report ¶ 61 n.35, such collapsing is an accepted practice in

her field because it allows for ease of interpretation and eliminates the effects of outliers and

bimodal distributions, see, Melinda J. Moya & Alison L. O’Malley, Mechanics of Survey Data

Analysis, in Employee Surveys & Sensing at 239, 246 (William H. Macey & Alexis A. Fink eds.,

2020), ECF No. 1259-39. The Court does not find that this choice invalidates Stockdale’s

opinion.

       Plaintiffs also attack Stockdale’s conclusions because they differ from those of their

expert. Pls. Daubert Mem. at 31–33. Experts reaching different conclusions is not a sufficient

basis for exclusion. See In re Zyprexa Products Liab. Litig., 489 F. Supp. 2d at 285.

       Additionally, Plaintiffs argue that Stockdale’s opinion should be excluded because she

relied on a research assistant and an outside firm, Cornerstone Research, to perform some of the

analysis in her report. Pls. Daubert Mem. at 33. This argument also fails. Experts are permitted

to “present the findings and conclusions of those whose work [they] supervised and that [they]

could personally replicate if necessary.” In re M/V MSC Flaminia, No. 12 Civ. 8892, 2017 WL

3208598, at *22 (S.D.N.Y. July 28, 2017). Stockdale supervised her research assistant and

Cornerstone Research and checked their work. Stockdale Report ¶ 10; Stockdale Dep. at 99,

107–11, 124. Stockdale teaches applied social science research methods, evidencing that she

could replicate the work completed by Cornerstone and her research assistant, and Plaintiffs do

not allege otherwise. See Stockdale Report ¶ 2. Moreover, contrary to Plaintiffs’

representations, Pls. Daubert Mem. at 33–34, Stockdale’s research assistant, her husband,



                                                 29
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 30 of 59




Michael Heck, Ph.D., is qualified to assist her. Stockdale deployed him to serve as a second

coder.18 Stockdale Dep. at 123–24. Coders do not require any specific expertise—rather, they

must be trained to apply the coding framework of the particular analysis.19 Heck holds a

doctorate in applied experimental psychology, for which he likely received at least some training

in qualitative research methods.20 And, even if he did not receive specialized training, the Court

is not convinced that Heck is incapable of being trained to be a coder.21 The Court shall not,

therefore, exclude Stockdale’s report and testimony.

        Accordingly, Plaintiffs’ motion to preclude Stockdale from testifying is DENIED.

                     3. Eric Dunleavy, Ph.D.

        Defendants retained Eric Dunleavy, Ph.D., an industrial and organizational psychologist

and the director of Employment and Litigation Services at DCI Consulting Group, to analyze the

work activities of the Associates and Vice Presidents in the three divisions at issue in this case

and the job relatedness of the three processes at issue. Dunleavy Work Analysis Report at 1, 10,

ECF No. 1192-2; Dunleavy Job Relatedness Report at 1, ECF No. 1192-26. He provided two

expert reports as well as a rebuttal report and a sur-rebuttal report. ECF Nos. 1192-2, 1192-3,

1192-26, 1192-27. In his work analysis report, Dunleavy was asked to opine on whether the

Associates and Vice Presidents perform the same roles in each division. Dunleavy Work



18
   Using a second coder is common in social science research as it allows for validation of coding, also known as
intercoder reliability. See Kimberly A. Neuendorf, The Content Analysis Guidebook, 41, 159, 166 (2016), ECF No.
1259-29. Butler, Plaintiffs’ expert, also utilized a dual-coder methodology. Butler Dep. at 223, 241.
19
   See Cliodhna O’Connor & Helene Joffe, Intercoder Reliability in Qualitative Research: Debates and Practical
Guidelines, 19 Int’l J. Qualitative Methods 1, 6 (2020); Johnny Saldana, The Coding Manual for Qualitative
Researchers 28–30 (1st ed., 2009) (listing personal attributes needed for coding).
20
   See Stockdale and Associates, Michael Heck, Ph.D., https://www.stockdaleandassociates.com/michael-heck-ph-d/
(last visit Mar. 17, 2022). Currently, obtaining a Ph.D. in psychology from Kansas State University requires two
courses in research design and analysis. See Kansas State University, Department of Psychological Sciences
Graduate Program Overview, https://www.k-state.edu/psych/graduate/ (last visited Mar. 17, 2022).
21
   As little as two hours of training is sufficient to learn how to code. See Ellen Childs & Lindsay B. Demers,
Qualitative Coding Boot Camp: An Intensive Training and Overview for Clinicians, Educators, and Administrators,
J. of Teaching and Learning Res. (2018).

                                                       30
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 31 of 59




Analysis Report at 1. In his job relatedness report, he was asked to evaluate the job relatedness

of the three processes at issue to determine if the processes are reliable and valid. Dunleavy Job

Relatedness Report at 1–2. Plaintiffs move to exclude Dunleavy’s work analysis and rebuttal

work analysis reports, arguing they are methodologically flawed and will not assist a jury as the

reports address topics not at issue in this case. Pls. Daubert Mem. at 36–38. Plaintiffs move to

preclude Dunleavy’s testimony on statistical studies five and seven in his job relatedness reports

because they include the same production variables discussed above. Id. at 36 n.30.

                          a. Work Analysis

       First, Plaintiffs rely on three cases to argue that Dunleavy’s methodology is flawed and

his testimony must, therefore, be excluded. Id. at 36, 40, 43–44. But, these cases are inapposite

because they relate to work analyses undertaken to create or validate a hiring tool. See

Guardians Ass’n of N.Y.C. Police Dep’t, Inc. v. Civ. Serv. Comm’n of City of N.Y., 630 F.2d 79,

95–96 (2d Cir. 1980); Gulino IV, 113 F. Supp. 3d at 676–83; United States v. City of New York

(City of New York I), 637 F. Supp. 2d 77, 100–105, 110–15 (E.D.N.Y. 2009). Here, the work

analysis is being used to ascertain if Associates and Vice Presidents do the same work, rather

than to create or evaluate an assessment for determining who should be hired. See Dunleavy

Work Analysis Report at 1.

       As the literature Plaintiffs cite emphasizes, a work analysis is not “one size fits all,” and

the methods must align with the purpose of the analysis. See Paul R. Sackett et al., Job and

Work Analysis, in 12 Handbook of Psychology: Industrial and Organizational Psychology 61, 63

(Neal W. Schmitt & Scott Highouse eds., 2d ed., John Wiley & Sons, Inc. 2013), ECF No.

1192-23. Dunleavy has shown that his work analysis is fit for the purpose for which it is

offered—showing that the Associates and Vice Presidents perform different tasks within and



                                                 31
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 32 of 59




across divisions. Dunleavy Work Analysis Report at 1, 207, 209. He articulated his hypotheses:

(1) that there is no difference in the tasks performed by Associates, and (2) that there is no

difference in the tasks performed by Vice Presidents, id. at 17–18, and then designed a

methodology to test those hypotheses, id. at 18–31.

        The methodology Dunleavy uses is similar to one found to be reliable for a comparable

purpose by another court in this district. See Kassman v. KPMG LLP, 416 F. Supp. 3d 252,

262–63, 269–71 (S.D.N.Y. 2018). Defendants have, therefore, met their burden of showing that

Dunleavy’s methodology is sufficiently reliable to be admissible. See id. at 270. Plaintiffs’

concerns related to the underlying data, specifically the sample size and sampling methodology,

go to weight rather than admissibility. Reed Const. Data Inc., 49 F. Supp. 3d at 401. Similarly,

issues related to the extrapolation of the work analysis conducted in 2019 to the class period also

go to weight. See Restivio v. Hessemann, 846 F.3d 547, 577 (2d Cir. 2017) (“[G]aps or

inconsistencies in the reasoning leading to [the expert’s] opinion . . . go to the weight of the

evidence, not to its admissibility.” (quoting Campbell ex rel. Campbell v. Metro. Prop. & Cas.

Ins. Co., 239 F.3d 179, 186 (2d Cir. 2001))).

                            b. Relevance

        Plaintiffs further argue that Dunleavy’s job analysis opinion is not relevant because it

does not address gender differences. Pls. Daubert Mem. at 47–48. The Court agrees that

Dunleavy’s analysis does not go to the heart of this case, which asks if the challenged processes

impact women differently from men. However, Dunleavy’s job analysis opinion is relevant to

the issue of commonality, which is before the Court in Defendants’ motion for class

decertification. See Defs. Decert. Mem. at 28–31, ECF No. 1224. An opinion need not go to the

ultimate issue to be relevant; it must only assist the trier of fact. See In re Pfizer Inc. Sec. Litig.,



                                                   32
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 33 of 59




819 F.3d 642, 661 (2d Cir. 2016). Therefore, Dunleavy’s job analysis opinion is admissible for

the purpose of the decertification motion only.

                              c. Production Variables

        Plaintiffs move to strike two statistical studies in Dunleavy’s job relatedness report and

sur-rebuttal report. Pls. Daubert Mot.; Pls. Daubert Mem. at 36 n.30. Dunleavy posits that the

360 review and quartiling processes were intended to capture performance and, therefore,

Dunleavy requested and used the production variables to test if the processes correlate with the

production variables as part of validating the processes. Dunleavy Job Relatedness Report at 61.

This is a reasoned justification for using the production variables as part of his analysis. The

Court shall not exclude the statistical studies incorporating the production variables.

        Accordingly, Plaintiffs’ motion to preclude Dunleavy from testifying as to the two

statistical studies in his job relatedness reports and to prevent the Court from considering

Dunleavy’s job analysis report when assessing Defendants’ decertification motion is DENIED.

                     4. Brian Dunn

        Defendants asked Brian Dunn to opine on (1) “[w]hether and to what extent the jobs

performed by professionals with the corporate title Associate and [Vice President] at financial

services firms such as Goldman Sachs differ”22 and (2) “[w]hether and to what extent financial

services firms such as Goldman Sachs need to tie compensation to performance.” Dunn Report

¶ 9, ECF No. 1192-4. Plaintiffs move to exclude Dunn’s reports, arguing that Dunn’s job variety

opinion is unreliable and his opinion related to paying for performance is irrelevant. Pls.

Daubert Mem. at 49–53. Dunn has worked for over 35 years as a compensation consultant,

using data provided by financial services firms to benchmark their compensation as compared to


 Like Dunleavy’s opinion, Dunn’s opinion on the jobs performed by the class members is only relevant to
22

Defendants’ decertification motion.

                                                      33
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 34 of 59




their industry. Dunn Report ¶¶ 1–2. In the past, he has served as a compensation consultant for

Goldman Sachs. Id. ¶ 4.

          Dunn’s opinion is based on his experience in compensation benchmarking in the financial

services industry. Id. ¶¶ 10, 26. According to Dunn, benchmarking firms ask their financial

services clients to complete surveys, created and provided by the benchmarking firms, which ask

the clients to indicate the compensation of various employees sorted by job category. See id.

¶¶ 18–19, 22. For information about the work performed by these various employees, Dunn

relies almost exclusively on declarations by Goldman Sachs’ employees and David Stowell’s

Investment Banks, Hedge Funds, and Private Equity, Third Edition (London: Academic Press,

2018). See id. ¶¶ 27–33. He connects the job categories used in benchmarking to the work

performed by Goldman Sachs’ employees in a conclusory fashion, stating that classification “is

necessary because the professionals perform different jobs; if they did not, they could all be

lumped together.” Id. ¶ 35 (emphasis in original). Such a leap creates “too great an analytical

gap between the data and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146

(1997).

          Moreover, Dunn’s opinion as it pertains to paying for performance, which would support

Defendants’ business necessity rebuttal to Plaintiffs’ claims, would not aid the jury and is,

therefore, excluded. “Testimony is properly characterized as ‘expert’ only if it concerns matters

that the average juror is not capable of understanding on his or her own.” United States v. Mejia,

545 F.3d 179, 194 (2d Cir. 2008). Dunn’s report concludes that Goldman Sachs must pay its

employees based on “the quality and value of their work” to be competitive in the financial

services employment market. Dunn Report ¶¶ 14, 64. It is within a lay person’s understanding

that companies pay individuals to do their jobs and need a means of assessing if those individuals



                                                34
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 35 of 59




are doing their jobs—to measure their performance and productivity. It is also within a lay

person’s knowledge that companies need to pay competitively to attract and retain employees.

An expert is not needed to opine that, in the financial services industry, these general

propositions apply. Dunn’s opinion will not add to the jury’s understanding as his report does

not discuss the specific mechanism of measuring performance commonly used in the industry or

provide any other opinion for which expertise is necessary. See id.

          Accordingly, Plaintiffs’ motion to preclude Dunn’s testimony is GRANTED.

    II.      Class Decertification

          Defendants move to decertify the class on the grounds that, since 2018, there have been

material factual and legal changes that undermine the certification. Defs. Decert. Mem. at 1–7.

Defendants argue that the class lacks Article III standing and that the class no longer meets the

Federal Rule of Civil Procedure 23 requirements of commonality, predominancy, typicality,

superiority, and adequacy. See generally id. Plaintiffs contend that the class has standing and

that Defendants are recycling their prior arguments as to the Rule 23 factors despite no change in

the relevant legal frameworks or facts. See Pls. Decert. Opp’n at 1–2, ECF No. 1269. The Court

agrees.

             A. Legal Standard

          Once a class is certified, “Rule 23 provides district courts with broad authority at various

stages in the litigation to revisit class certification determinations and to redefine or decertify

classes as appropriate.” Jacob v. Duane Reade, Inc., 293 F.R.D. 578, 594 (S.D.N.Y. 2013)

(quoting Wang v. Chinese Daily News, Inc., 709 F.3d 829, 836 (9th Cir. 2013), superseded on

other grounds by 737 F.3d 538 (9th Cir. 2013)); see Fed. R. Civ. P. 23(c)(1)(C). “A court may

decertify a class if it appears that the requirements of Rule 23 are not in fact met[,] . . . [it] may



                                                   35
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 36 of 59




not disturb its prior findings absent some significant intervening event or a showing of

compelling reasons to reexamine the question.” Mazzei v. Money Store (Mazzei I), 308 F.R.D.

92, 106 (S.D.N.Y. 2015), aff’d, Mazzei v. Money Store (Mazzei II), 829 F.3d 260 (2d Cir. 2016)

(quotation marks and citations omitted). Such compelling reasons may include “an intervening

change of controlling law, the availability of new evidence, or the need to correct a clear error or

prevent manifest injustice.” Id. (quoting Gulino v. Bd. of Educ. (Gulino II), 907 F. Supp. 2d 492,

504 (S.D.N.Y. 2012), aff’d, Gulino v. Bd. of Educ. (Gulino III), 555 Fed. Appx. 37 (2d Cir.

2014)); see also Stinson v. City of New York, No. 10 Civ. 4228, 2014 WL 4742231, at *1

(S.D.N.Y. Sept. 23, 2014) (collecting cases). Absent such a showing, “the factual underpinnings

of a court’s prior certification order are deemed to be law of the case.” Stinson, 2014 WL

4742231, at *2 (quotation marks and citation omitted).

       “Decertification is an ‘extreme step.’” Gulino II, 907 F. Supp. 2d at 504 (quoting Woe v.

Cuomo, 729 F.2d 96, 107 (2d Cir. 1984)). “A defendant seeking to decertify a class ‘bear[s] a

heavy burden to prove the necessity of either the drastic step of decertification or the less

draconian but still serious step of limiting the scope of the class.’” Id. (quoting Gordon v. Hunt,

117 F.R.D. 58, 61 (S.D.N.Y. 1987)). However, Plaintiffs retain “the burden [of] demonstrat[ing]

that the [Rule 23(b)(3)] requirements [are] satisfied.” Mazzei II, 829 F.3d at 270. These

requirements are numerosity, commonality, typicality, adequacy of representation, predominance

of common questions of law or fact, and the superiority of a class action to other procedural

mechanisms. Fed. R. Civ. P. 23(a), (b)(3).




                                                 36
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 37 of 59




             B. Analysis

                      1. Standing

         Defendants argue that each class member must demonstrate standing to maintain

certification for a Rule 23(b)(3) damages class action. Defs. Decert. Mem. at 1–3, 23–27.23 This

argument has been foreclosed by the law of the Circuit.

         The “threshold question” of whether a plaintiff has Article III standing is whether the

plaintiff has adequately “alleged an ‘injury-in-fact’ that is fairly traceable to the challenged

conduct and redressable by a favorable judicial decision.” Lerman v. Bd. of Elections, 232 F.3d

135, 143 n.9 (2d Cir. 2000). This question must remain “distinct” from “the question of whether

[plaintiffs have] valid claim on the merits.” Id.; see also Carver v. City of New York, 621 F.3d

221, 226 (2d Cir. 2010); Denney v. Deutsche Bank AG, 443 F.3d 253, 265 (2d Cir.

2006) (finding that class members “suffered injuries-in-fact[] irrespective of whether their

injuries [were] sufficient to sustain any cause of action”). Defendants appear to conflate these

two separate inquiries. See Defs. Decert. Mem. at 26–27. Before the Court is only the threshold

question of standing.

         In the class action context, the Supreme Court recently clarified that “[e]very class

member must have Article III standing in order to recover individual damages.” TransUnion v.

Ramirez, 141 S. Ct. 2190, 2208 (2021) (emphasis added). The Supreme Court’s holding did not

address the “distinct question” of whether each member of the class must demonstrate standing



23
   Defendants also argue that Plaintiffs abandoned the Int’l Bhd. of Teamsters v. United States, 431 U.S. 324 (1977)
framework when they did not pursue class certification for injunctive relief and that the Court relied on Plaintiffs
seeking to certify an injunctive class to find standing in the Class Certification Order. Defs. Decert. Mem. at 25–27.
Defendants are incorrect. In certifying the class, the Court did not rely on the existence of an injunctive class under
Rule 23(b)(2). In fact, the Court explicitly stated “[c]lass claims for injunctive and declaratory relief under Rule
23(b)(2) and (c)(4) are now being pursued on a separate track—currently scheduled to be fully submitted in late
2018.” Class Cert. Order at 12–13. The Court declined to consider any arguments about a class under Rule 23(c)(4)
because the Class Certification Order was limited to the Rule 23(b)(3) class. Id. at 13 n.3.

                                                          37
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 38 of 59




during class certification. See id. at 2208 n.4. However, the Second Circuit, has held that courts

in this Circuit “do not require that each member of a class submit evidence of personal standing.”

Denney, 443 F.3d at 263 (collecting cases). Instead, the class must “be defined in such a way

that anyone within it would have standing.” Id. at 264.

        This Circuit has not clearly articulated a test to assess standing for Title VII claims.

However, in the equal protection context, the Supreme Court has held that to establish standing,

a plaintiff must only show that a policy “prevented [the plaintiff] from competing on an equal

footing,” not that the plaintiff “would have obtained a benefit but for the barrier.” Ne. Fla.

Chapter of Associated Gen. Contractors of Am. v. Jacksonville, 508 U.S. 656, 666–67 (1993).

The district court in Houser v. Pritzker held that this standard should also apply in the Title VII

context as “federal courts generally are less reluctant to overcome jurisdictional hurdles when

faced with statutory, rather than constitutional, merits questions.” 28 F. Supp. 3d 222, 238–39

(S.D.N.Y. 2014). The Court agrees and adopts the equal protection standing test for the Title VII

claims in this case.

        Combining the requirements for standing for classes and for Title VII claims, the test for

standing in this case asks whether the class is defined in such a way as to ensure that the class

members were subject to the policy that allegedly placed them on an unequal footing based on

their gender. Because the class definition used here makes clear that all the class members were

subject to the policies at issue, there is standing sufficient to maintain the certification of the

class. See Houser, 28 F. Supp. 3d at 237.

                    2. Rule 23 Standard

        Defendants renew their arguments made when certification of this case was initially

briefed. Specifically, they allege that discovery has revealed facts that require the court to revisit



                                                   38
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 39 of 59




its decision as to commonality, predominancy, typicality, superiority, and adequacy. Defs.

Decert. Mem. at 27–45. Again, the Court rejects Defendants’ arguments.24

                              a. Commonality

        Defendants contend that there are no common questions of fact because of the discretion

involved in the compensation and promotion processes, id. at 28–37, and further argue that the

class members work a number of different jobs, undermining commonality, id. at 31.

Defendants contend that discovery has only strengthened the arguments made at the class

certification stage. See id. at 31. They adduce forty-one declarations from employees stating

that discretion is exercised differently in implementing the processes. Id. at 4, 30. They also put

forward a subset of those declarations and deposition excerpts to support their contention that the

360 review and quartiling processes are decentralized. Id. at 30. However, some of the

declarations and depositions predate class certification. See, e.g., id. at vi–xiii; ECF Nos. 1225-

1, 1225-2, 1225-4. Although Defendants argue that discovery has shown that discretion is

exercised differently by different managers and evaluators, Defs. Decert. Mem. at 29–31, and

there is no centralized decision-making, id. at 36, both arguments were raised—and rejected—

when the Court certified the class, see, e.g. Defs. R&R Objs. at 1, 11–15, 22–25, 29–30, ECF

No. 502. Plaintiffs counter that the processes constitute a common mode of decision-making as

contemplated by Dukes, Pls. Decert. Opp’n at 29–31, and that the class members hold two

positions, Associate and Vice President, id. at 31–32.

        As the Court explained in the Class Certification Order, under Dukes, “‘a common mode

of exercising discretion that pervades the entire company’ can constitute a general policy” for the



24
  Where Defendants make arguments in their decertification briefs that are more appropriate in relation to summary
judgment than to decertification, the arguments are addressed in the summary judgment section of this order. See
Defs. Decert. Reply at 19, ECF No. 1307 (arguing about liability for disparate treatment claims).

                                                       39
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 40 of 59




purposes of commonality. Class Cert. Order at 24 (quoting Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 356 (2011)). Plaintiffs’ claims must “depend upon a common contention” that is “of

such a nature that it is capable of classwide resolution—which means that determination of its

truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

stroke.” Dukes, 564 U.S. at 350. Further, the Supreme Court clarified that “giving discretion to

lower-level supervisors can be the basis of Title VII liability under a disparate-impact theory”

when that discretion is channeled through “specific employment practice[s].” Id. at 355, 357

(citation omitted).

        First, Defendants argue that Plaintiffs must show that each class member was injured.

See Defs. Decert. Mem. at 32–33. This argument misunderstands why the Court granted

certification of the class. In Phase I of this case, the questions being asked are at the classwide

level—did these processes cause disparate impact and does the use of the processes evidence

disparate treatment? At Phase II, the case will look at individuals and whether they suffered

harm such that damages should be awarded to them. All of the class members were subject to at

least one of the processes. See Class Cert. Order at 22–49. The processes were a means of

channeling the discretion of lower-level supervisors. See Dukes, 564 U.S at 355. All the class

members have this in common and it forms the basis of their common contention. At Phase I,

the common questions will “generate common answers apt to drive the resolution of the

litigation.” Dukes, 564 U.S. at 350 (quoting Richard A. Nagareda, Class Certification in the Age

of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)) (emphasis in original). In the Class

Certification Order, the Court explained at length how Plaintiffs demonstrated commonality, see




                                                  40
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 41 of 59




Class Cert. Order at 23–34, and Defendants’ arguments for decertification do not raise issues that

the Court finds persuasive or different from those previously considered.25

         Defendants also argue that the class members perform different jobs, Defs. Decert. Mem.

at 31; Defs. Decert. Reply at 13–16, ECF No. 1307, an argument they made when class

certification was before the Court, see, e,g, Defs. R&R Objs. at 1–3, 12 n.5, 20, 25. The Court

noted in its Class Certification Order that class members here “hold only one of two jobs:

Associate or Vice President.” Class Cert. Order at 27–28 n.11. That continues to be true. Even

if it is understood that there is some variability in the tasks each Associate or Vice President

performs, each Associate and each Vice President is at the same level of “relative seniority” in

the Goldman Sachs hierarchy. See Defs. 56.1 ¶¶ 7–8. This is different from the class members

in Dukes who “held a multitude of different jobs, at different levels of Wal-Mart’s hierarchy”

such that they had “little in common but their sex and this lawsuit.” Dukes, 564 U.S. at 359–60

(quoting Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571, 652 (9th Cir. 2010) (Kozinski, J.,

dissenting)). These factual distinctions are critical, and place this case outside Dukes’ ambit.

         The Court finds that Plaintiffs, as they did in 2018, have met their burden of

demonstrating commonality.



25
  For example, Defendants’ argument related to Mandala is unavailing. Defs. Decert. Mem. at 32–33 (citing
Mandala v. NTT Data, Inc., 975 F.3d 202 (2d Cir. 2020)). In Mandala, the plaintiffs used nationwide statistics that
were not properly tailored to the inquiry. 975 F.3d at 210–11. By contrast, Plaintiffs in this case use data from
employees at Goldman Sachs, which is properly tailored to the inquiry. See generally Farber Report. Defendants
also cite the certification decision in Kassman v. KPMG LLP, 416 F. Supp. 3d 252 (S.D.N.Y. 2018), for the
proposition that there is no common question of fact when “local managers apply highly discretionary criteria.”
Defs. Decert. Mem. at 28; see also id. at 29–31. But, in Kassman, unlike here, the policies dictated “stages or
phases” at which discretion was exercised rather than channeling the discretion. 416 F. Supp. 3d at 278.
Moussouris v. Microsoft, No. 15 Civ. 1483, 2018 WL 3328418 (W.D. Wash. June 25, 2018), is also distinguishable
from the case before the Court. In Moussouris, the plaintiffs argued that the root of the commonality was the
unfettered discretion given to supervisors. 2018 WL 3328418, at *18. The court held this argument to be foreclosed
by Dukes. Id. At oral argument in Moussouris the plaintiffs did an about-face and argued that there was no
discretion, id. This is dissimilar from the arguments Plaintiffs make here consistently, that discretion was channeled
through the challenged processes. The other cases relied on by Defendants predate the Class Certification Order,
and were already considered by the Court.

                                                         41
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 42 of 59




                           b. Typicality

       Defendants argue that the typicality requirement is not met because “no class members’

claims . . . arose from the ‘same course of events.’” Defs. Decert. Mem. at 40 (quoting

Moussouris, 2018 WL 3328418, at *27–28). They argue, as they have previously, that the

named Plaintiffs’ differing experiences at Goldman Sachs demonstrate that the claims of

individual class members are not typical. Id. at 40–42. Defendants allege that discovery has

“show[n] that no class members’ claims, including those of [n]amed Plaintiffs, arose from the

‘same course of events,’” id. at 40 (emphasis and citation omitted), however they do not point to

any facts that were not known when the class was certified.

       Typicality “is satisfied when the lead plaintiffs’ claims arise from the same series of

events and find support in the same legal theories as the claims of all of the remaining class

members.” Houser, 28 F. Supp. 3d at 245; see also Fed. R. Civ. P. 23(a)(3) (requiring that “the

claims or defenses of the representative parties are typical of the claims or defenses of the

class”). The named Plaintiffs, like the unnamed class members, were all subjected to at least one

of the challenged processes and their claims are based on the same legal theories. See Class

Cert. Order at 36–39. The Court rejected nearly identical typicality arguments made by

Defendants in 2018, id. at 34–39, and there has been no “significant intervening event or a

showing of compelling reasons to reexamine the question” the Court already answered, Mazzei I,

308 F.R.D. at 106 (quoting Gulino II, 907 F. Supp. 2d at 504). Again, the Court rejects

Defendants’ arguments for the reasons previously stated.

                           c. Adequacy

       Defendants argue that “the evidence now shows that this class action is infected with

intra-class conflicts that demand decertification” because class members have evaluated other



                                                 42
      Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 43 of 59




class members as part of the challenged processes, destroying adequacy. Defs. Decert. Mem. at

45. This alleged intra-class conflict was knowable at class certification given how the processes

function, for example, peers evaluated each other as part of the 360 review process, Defs. 56.1

¶ 13. However, Defendants can now approximate how many class members provided feedback

as part of the 360 review process and were managers or cross-ruffers. Defs. Decert. Mem. at 17,

45.

        “In order to defeat a motion for certification, any conflicts between the class

representative and members of the putative class must be ‘fundamental.’” Ligon v. City of New

York, 288 F.R.D. 72, 80 (S.D.N.Y. 2013) (quoting In re Flag Telecom Holdings, Ltd. Sec. Litig.,

574 F.3d 29, 35 (2d Cir. 2009)).

        The processes at issue channel the discretion of the individual evaluators and cross-

ruffers, limiting their discretion. See Class Cert. Order at 25–28. The processes negate any

possible fundamental conflict between the class representatives and class members because the

allegations are not that any individual evaluators acted discriminatorily, but rather that the

processes caused disparate impact or evinced disparate treatment. Cf. In re Johnson, 760 F.3d

66, 74 (D.C. Cir. 2014) (“If class members neutrally applied a flawed rating system and thereby

reached a discriminatory result, then they were not themselves discriminating and therefore have

no apparent interest that is in conflict with the attempt to prove other agents were denied

promotions because of their race.”). Defendants have not shown that there is a fundamental

conflict in the class such that adequacy is lacking.

                           d. Predominance

        Defendants rely mainly on cases decided before the Class Certification Order to argue

that determining who will be entitled to damages will predominate over classwide issues. See



                                                 43
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 44 of 59




Defs. Decert. Mem. at 37–40.26 Defendants merely reiterate arguments made in 2018 when the

Court certified the class, and point to no changes in the factual record that impacts

predominance.

         “Rule 23(b)(3) [] does not require a plaintiff seeking class certification to prove that each

element of her claim is susceptible to classwide proof. What the rule does require is that

common questions ‘predominate over any questions affecting only individual [class]

members.’” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 459 (2013) (quoting

Fed. R. Civ. P. 23(b)(3); other quotation marks, citations, and alterations omitted). In the

liability phase of this case, common questions predominate. The parties’ motions for summary

judgment illustrate this predominance, as each party believes they are entitled to summary

judgment, which would apply to the entire class. Issues relating to damages and the possible

need for individualized findings are not relevant at this stage of the case where common

questions of liability predominate.

                                e. Superiority

         Defendants argue that a classwide finding of liability will not establish Defendants’

liability as to individual class members for purposes of damages calculations. Defs. Decert.

Mem. at 42–44. They argue that this issue is exacerbated by Plaintiffs’ decision not to pursue an

injunctive class, id. at 42, a decision that occurred after class certification, id. at 1. A finding of

liability at the class level may streamline individual liability determinations. See Robinson v.

Metro-North Commuter R.R., 267 F.3d 147, 161–62 (2d Cir. 2001), abrogation on other grounds


26
   Defendants rely on Olean Wholesale Grocery Coop. v. Bumble Bee Foods LLC, 993 F.3d 774 (9th Cir. 2021).
Defs. Decert. Mem. at 37. Any reliance on Olean is misplaced as the Ninth Circuit has vacated the opinion. Olean
Wholesale Grocery Coop. v. Bumble Bee Foods LLC, 5 F.4th 950, 951 (9th Cir. 2021). The other case Defendants
cite that was decided after class certification is an antitrust case. In re Rail Freight Fuel Surcharge Antitrust Litig.,
934 F.3d 619 (D.C. Cir. 2019). The predominance analysis in that case focused on whether each class member was
injured. Id. at 625–26. As explained in the standing section of this opinion, the class definition is constructed in
such a way to ensure each member suffered an injury-in-fact. See supra Part II.B.1.

                                                           44
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 45 of 59




recognized by Johnson v. Nextel Commc’ns Inc., 780 F.3d 128, 138 (2d Cir. 2015) (disparate

impact); Reynolds, 685 F.3d at 203–04 (disparate treatment). As the Court explained in 2018, “a

class action is superior to other available methods for fairly and efficiently adjudicating

Plaintiffs’ . . . claims.” Class Cert. Order at 47–49 (quoting Fed. R. Civ. P. 23(b)(3)).

          Defendants have not carried the “heavy burden to prove the necessity of either the drastic

step of decertification or the less draconian but still serious step of limiting the scope of the

class.” Gulino II, 907 F. Supp. 2d at 504 (quoting Gordon, 117 F.R.D. at 61). Accordingly,

Defendants’ motion for decertification is DENIED.

   III.      Summary Judgment

          Plaintiffs move for summary judgment on their prima facie case for some of their

disparate impact claims. Pls. Summ. J. Mot., ECF No. 1247. Defendants move for summary

judgment on Plaintiffs’ disparate impact and disparate treatment claims. Defs. Summ. J. Mot.,

ECF No. 1239.

             A. Legal Standard

                     1. Summary Judgment

          “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). The moving party bears the initial burden of pointing to evidence in the record,

“including depositions, documents[,] . . . [and] affidavits or declarations,” Fed. R. Civ. P.

56(c)(1)(A), “which it believes demonstrate[s] the absence of a genuine issue of material fact,”

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The moving party may support an assertion

that there is no genuine dispute by “showing . . . that [the] adverse party cannot produce

admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(B). The non-movant cannot



                                                  45
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 46 of 59




avoid summary judgment “through mere speculation or conjecture” or “by vaguely asserting the

existence of some unspecified disputed material facts.” Western World Ins. Co. v. Stack Oil,

Inc., 922 F.2d 118, 121 (2d Cir. 1990) (internal quotation marks and citations omitted). On

summary judgment, the “[C]ourt’s function is not to weigh the evidence, make credibility

determinations or resolve issues of fact, but rather to determine whether, drawing all reasonable

inferences from the evidence presented in favor of the non-moving party, a fair-minded jury

could find in the non-moving party’s favor.” Urbont v. Sony Music Ent., 831 F.3d 80, 88 (2d

Cir. 2016) (quoting Beatie v. City of New York, 123 F.3d 707, 710–11 (2d Cir. 1997)).

       “The same standard of review applies when the court is faced with cross-motions for

summary judgment.” Clear Channel Outdoor, Inc. v. City of New York, 608 F. Supp. 2d 477,

492 (S.D.N.Y. 2009) (citing Morales v. Quintel Entm’t, Inc., 249 F.3d 115, 121 (2d Cir. 2001)).

In evaluating cross-motions for summary judgment, “[e]ach party’s motion must be reviewed on

its own merits, and the Court must draw all reasonable inferences against the party whose motion

is under consideration.” Id. (citing Morales, 249 F.3d at 121). However, “even when both

parties move for summary judgment, asserting the absence of any genuine issues of material fact,

a court need not enter judgment for either party.” Morales, 249 F.3d at 121 (citing Heublein,

Inc. v. United States, 996 F.2d 1455, 1461 (2d Cir. 1993)).

       Competing expert testimony does not preclude summary judgment, so long as the district

court excludes one parties’ expert under Daubert. Raskin, 125 F.3d at 66–67. Alternatively, if

both experts support the findings required for a prima facie case, there is no material dispute of

fact and summary judgment may be granted. See City of New York I, 637 F. Supp. 2d at 94.




                                                46
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 47 of 59




                   2. Title VII

                           a. Disparate Impact

       For a Title VII disparate impact claim, the plaintiffs must prove, by a preponderance of

the evidence, that the challenged practices have caused a disparate impact on the basis of sex.

This is completed in a three-part analysis involving shifting evidentiary burdens. Gulino v. New

York State Educ. Dep’t. (Gulino I), 460 F.3d 361, 382 (2d Cir. 2006). First, plaintiffs must

establish a prima facie case. See 42 U.S.C. § 2000e–2(k). Plaintiffs must identify the

employment practice or practices they allege have harmed them. Id. § 2000e–2(k)(1)(B)(i).

They must then prove that the practice or practices were responsible for the alleged disparity. Id.

Statistical proof is central to the showing of a prima facie case of disparate impact because

disparate impact claims require that an employment practice “had a disparate effect on the

protected group” regardless of intent. Robinson, 267 F.3d at 160 (2d Cir. 2001). Regression

modeling is normally used because this statistical technique attempts to eliminate other possible

causes, leaving only the studied event as the possible cause of the difference observed.

Ottaviani, 875 F.2d at 366–67, 371. In employment discrimination cases, statistical significance

at the 5% level, or approximately two standard deviations, is sufficient. Smith, 196 F.3d at 366;

see also Ottaviani, 875 F.2d at 371. This means the there is a 95% probability that the difference

found is due to the variable of interest, rather than chance. Ottaviani, 875 F.2d at 371. The

analysis should be done on the relevant level at which the process at issue was implemented,

unless plaintiffs can explain why it is proper to exclude a portion of the employees subject to the

policy. See Smith, 196 F.3d at 368–70.

       Once plaintiffs establish a prima facie case, the burden shifts to defendants to rebut the

prima facie case by attacking plaintiffs’ statistical proof, Gulino I, 460 F.3d at 382, or by



                                                 47
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 48 of 59




“demonstrat[ing] that the challenged practice is job related for the position in question and

consistent with business necessity,” id. (citing 42 U.S.C. § 2000e–2(k)(1)(A)(i)). If defendants

attack plaintiffs’ statistical proof, plaintiffs are free to challenge defendants’ rebuttal just as in

any other lawsuit, including by “impeach[ing] the reliability of the statistical evidence, . . .

offer[ing] rebutting evidence, or . . . disparag[ing] in arguments or in briefs the probative weight

which the . . . evidence should be accorded.” Cf. Watson v. Fort Worth Bank & Trust, 487 U.S.

977, 996 (1988) (O’Connor, J.).

        Finally, if defendants rebut the prima facie case using the business necessity option, the

burden shifts back to plaintiffs to show that there are less discriminatory alternatives. See Gulino

I, 460 F.3d at 382.

                             b. Disparate Treatment

        Like disparate impact claims, pattern-or-practice disparate treatment claims are evaluated

using a burden-shifting framework. Int’l. Bhd. of Teamsters, 431 U.S. at 360–62; City of New

York III, 717 F.3d at 83. Plaintiffs make out a prima facie case if they can show that (1)

“discrimination was the company’s standard operating procedure[,] the regular rather than the

unusual practice,” and (2) “the discrimination was directed at a class of victims.” City of New

York III, 717 F.3d at 83 (internal quotation marks omitted) (alterations in original). For this

showing, “instances of discrimination against particular employees are relevant to show a policy

of intentional discrimination, [but] they are not required; a statistical showing of disparate impact

might suffice.” Id. at 84. “The statistical disparities supporting [a] . . . finding . . . [of] disparate

impact [can] also serve[] to establish a prima facie case on the . . . claim of a pervasive pattern of

discriminatory treatment.” See id. at 88 (emphasis added). Further, the statistical significance level

is the same for disparate impact and disparate treatment claims—two standard deviations.

Waisome v. Port Auth. of N.Y. & N.J., 948 F.2d 1370, 1376 (2d Cir. 1991).
                                                     48
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 49 of 59




       After plaintiffs establish a prima facie case, the burden “shifts to the employer ‘to rebut

the presumption of discrimination.’” City of New York III, 717 F.3d at 84 (quoting Texas Dep’t

of Cmty. Affs. v. Burdine, 450 U.S. 248, 254 (1981)). “The employer need only ‘articulate some

legitimate, nondiscriminatory reason for’” its presumptively discriminatory actions. Id. (quoting

Burdine, 450 U.S. at 253) (emphasis omitted). As the Second Circuit has explained, defendants

may rebut the presumption by attacking the accuracy or adequacy of plaintiffs’ statistics, or,

alternatively, “by accepting [] plaintiff[s’] statistics and producing non-statistical evidence to

show that it lacked such an intent.” Id. at 85.

       If defendants do not successfully rebut plaintiffs’ prima facie case, “the presumption

arising from an unrebutted prima facie case entitles the plaintiff[s] to prevail on the issue of

liability and proceed directly to the issue of appropriate relief.” Id. at 87. If defendants are

successful in their rebuttal, the presumption in favor of plaintiffs “drops out” and the case

proceeds to trial. Id.; St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 509–11 (1993). At trial,

plaintiffs are afforded the “opportunity to prove by a preponderance of the evidence that the

legitimate reasons offered by the defendant were not true reasons, but were a pretext for

discrimination.” Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133, 143 (2000).

                   3. NYCHRL

       NYCHRL discrimination claims are analyzed under the same burden-shifting standard

used for Title VII claims. Farmer v. Shake Shack Enter., 473 F. Supp. 3d 309, 323–24

(S.D.N.Y. 2020). The NYCHRL, however, must be construed “broadly in favor of

discrimination plaintiffs, to the extent that such a construction is reasonably possible.” Albunio

v. City of New York, 947 N.E.2d 135, 137 (N.Y. 2011). Accordingly, claims brought under the

NYCHRL are analyzed “independently from and more liberally than federal and state



                                                  49
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 50 of 59




counterparts.” Loeffler v. Staten Island Univ. Hosp., 582 F.3d 268, 278 (2d Cir. 2009) (internal

quotation marks and citation omitted). Interpretations of analogous state and federal statutes

may “be used to aid in interpretation of [the NYCHRL]” to the extent such interpretations serve

as “a floor below which” the NYCHRL cannot fall. Id. (citation omitted) (emphasis in original).

           B. Plaintiffs’ Motion for Summary Judgment

       Plaintiffs move for partial summary judgment on their disparate impact claims under

Title VII and the NYCHRL, contending that they met their burden of making out a prima facie

case. Pls. Summ. J. Mot. With respect to the 360 review and quartiling processes, they move for

summary judgment from the beginning of the class period to the end of 2015, Pls. Summ. J.

Mem. at 1, when Goldman Sachs stopped reporting numeric scores for 360 reviews, Farber

Report ¶ 85, 109. For cross-ruffing, they move for summary judgment from the beginning of the

class period to the present. Id.

       Plaintiffs argue they have established a prima facie case on their disparate impact claim,

which Defendants have failed to rebut. Specifically, Plaintiffs contend that even if Shaw’s

expert opinion is not excluded, her testimony is insufficient to rebut their prima facie case,

because she “concedes that there is a statistically significant gender gap” caused by the processes

at issue. Id. at 2–3, 12. Plaintiffs base this assertion on Shaw’s Exhibit 68, id. at 12, which

recreates Farber’s aggregated analysis and then adds more variables Shaw believes should be

included. Shaw Report at App. J. The fact that Shaw is able to reproduce Farber’s modeling

does not mean their reports are in agreement, nor does it mean that Shaw’s report is insufficient

to rebut Plaintiffs’ prima facie case at this stage. Further, Shaw’s final analysis in Exhibit 68,

which includes all the variables she believes should be included, finds statistically significant

gender differences only for Vice Presidents in two divisions, see id., which does not support



                                                 50
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 51 of 59




Plaintiffs’ motion for summary judgment. Contrary to Plaintiffs’ argument, Shaw and Farber

present different regression models, which include different variables, resulting in different

conclusions about disparate impact. Compare Shaw Report ¶ 29, with Farber Report ¶¶ 8,

10–14, 17–18. Shaw and Farber’s reports create a material dispute of fact as to how the

processes at issue impacted the class members.

        Where, as here, two experts have put forth admissible opinions that disagree, summary

judgment is improper. Raskin, 125 F.3d at 66–67. Because the “two contradictory expert

opinions meet the requisite threshold of reliability, it is the function of the jury, utilizing the

‘conventional devices’ of ‘cross-examination, presentation of contrary evidence, and careful

instruction on the burden of proof,’ to determine which is the more trustworthy and credible.” In

re Zyprexa, 489 F. Supp. 2d at 285 (quoting Daubert, 509 U.S. at 596); see also Washington v.

Kellwood Co., 105 F. Supp. 3d 293, 315 (S.D.N.Y. 2015) (quoting Amorgianos v. Nat’l. R.R.

Passenger Corp., 303 F.3d 256, 267 (2d Cir. 2002)). Accordingly, Plaintiffs’ motion for

summary judgment is DENIED.

            C. Defendants’ Motion

        Defendants move for summary judgment on all of Plaintiffs’ claims. Defs. Summ. J.

Mot. They group their motion in three parts—disparate impact claims, disparate treatment

claims, and issues relating to certain claims and class members. See generally Defs. Summ. J.

Mem.

                    1. Disparate Impact Claims

        Defendants argue that Plaintiffs have improperly grouped employment practices in a

manner foreclosed by 42 U.S.C. § 2000e-2(k)(1)(B)(i). See id. at 20–23. They also contend that

Plaintiffs’ disparate impact claims fail because of gaps in the statistical evidence. Id. at 23–27.



                                                   51
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 52 of 59




Finally, Defendants argue that Plaintiffs have not shown that there is a less discriminatory

alternative to the processes at issue, dooming their case. Id. at 27–31. The Court addresses each

argument separately.

                           a. Identification of Employment Practices

       Defendants argue that they are entitled to summary judgment because Plaintiffs failed to

break down the 360 review and cross-ruffing processes into smaller subcomponents. Id. at

20–23. The Court disagrees.

       Under Title VII, plaintiffs must identify the “particular employment practice that causes a

disparate impact on the basis of . . . sex.” Ricci v. DeStefano, 557 U.S. 557, 578 (2009).

Plaintiffs must further show that the elements of the decision-making process “are not capable of

separate analysis.” 42 U.S.C. § 2000e-2(k)(1)(B)(i). “Whether a particular decision[-]making

process is capable of separation for analysis largely turns on the details of the specific process

and its implementation in a given case.” Chin, 685 F.3d at 154.

       Plaintiffs have met their burden by identifying three processes in Defendants’ overall

evaluation, compensation, and promotion system—360 review, quartiling, and cross-ruffing.

See, e.g., Pls. Summ. J. Mem. at 1. The three processes identified are not capable of further

disaggregation, as the elements of each subcomponent are intertwined and are meaningless when

separated.

       The 360 review process involves multiple subcomponents, but each subcomponent works

with the others to create an actionable employment process—Defendants do not utilize the

subcomponents of the 360 review process independently to make employment decisions. Rather,

it is only when the subcomponents are brought together does the 360 review process become an




                                                 52
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 53 of 59




“element of a respondent’s decisionmaking process.” 42 U.S.C. § 2000e-2(k)(1)(B)(i). Before

the elements come together, they are just data points rather than an employment practice.

       In the cross-ruffing process, the two subcomponents of the process work in tandem to

determine if an individual will be promoted to Managing Director. As the Court has explained

above, supra Part I.B.3.b, the two subcomponents are considered one process for the purpose of

42 U.S.C. § 2000e-2(k)(1)(B)(i). See Chin, 685 F.3d at 154–55.

       What Defendants ask the Court to do is akin to requiring that plaintiffs identify which

question on an exam is discriminatory rather than making a claim as to the full exam.

Defendants cite no precedent requiring such disaggregation. See Stagi v. Nat’l R.R. Passenger

Corp., 391 F. App’x. 133, 146–48 (3d Cir. 2010) (noting “[t]here is no legal requirement to use

the smallest possible unit of analysis” in disparate impact cases). Breaking down the processes

into their subcomponents would also serve to disaggregate the data, making recognizing

statistically significant patterns more difficult. See Ellis v. Costco Wholesale Corp., 285 F.R.D.

492, 523 n.25 (N.D. Cal. 2012) (“Indeed, Defendant appears to largely offer a tautology—that

disaggregated data is more probative simply because it yields results favorable to [it].”).

Plaintiffs have adequately defined the elements of the decision-making process such that they are

not capable of meaningfully being further broken down. See Chin, 685 F.3d at 154–55.

                           b. Statistical Causation

       Defendants allege that Plaintiffs have not met their burden of proving the employment

processes at issue caused the disparities in compensation and promotions between men and

women in the three divisions. Defs. Summ. J. Mem. at 23–27. Like Plaintiffs’ motion for

summary judgment, Defendants’ motion must be denied because there is a disagreement between

the experts on a number of material factual issues, including the proper level of aggregation and



                                                 53
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 54 of 59




how to analyze the cross-ruffing process, creating a dispute that must be resolved by a jury. In re

Zyprexa, 489 F. Supp. 2d at 285. Defendants also argue that there is no material dispute of fact

because Farber did not find proof of disparate impact after 2015 for the 360 review and

quartiling processes and did not find that fewer women than men were promoted to Managing

Director in every year. Defs. Summ. J. Reply at 7–8, ECF No. 1319. However, the change in

impact of the processes after 2015 does not negate the statistical findings from before that year,

especially given that Defendants adduced evidence that there were changes to the 360 review and

quartiling processes starting in 2016. Landman Decl. ¶¶ 6, 20; Landman Dep. at 82, 88. In

2016, the 360 review process shifted to being primarily used as a development tool rather than

used to determine an employee’s compensation. Landman Decl. ¶¶ 6, 20, 26–28; Landman Dep.

at 82, 88. Goldman Sachs also changed its quartiling process in 2016. See Landman Decl.

¶¶ 26–28. Therefore, the lack of statistically significant findings after 2015 does not preclude a

finding of liability prior to 2016. As to cross-ruffing, given the small sample size, there is a

dispute among the experts about whether the statistical analysis should be done by year or across

the full period. See Farber Rebuttal ¶ 81. Given the material disputes of fact, summary

judgment is improper. See Raskin, 125 F.3d at 66.

                           c. Less Discriminatory Alternative

       Defendants next argue that summary judgment is appropriate because Plaintiffs have

failed to raise a triable issue of fact on the question of a less discriminatory alternative. Defs.

Summ. J. Mem. at 27–31. In doing so, Defendants move for summary judgment on the final step

of the disparate impact burden-shifting framework, a step only reached “if the defendant meets

the burden of showing the challenged practice is job related.” Gulino I, 460 F.3d at 382

(emphasis added). As discussed above, if Plaintiffs establish a prima facie case, then Defendants



                                                  54
     Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 55 of 59




may show there is a business necessity for the processes at issue. Id. Only after this showing is

made are Plaintiffs required to put forward a less discriminatory alternative. Id. Defendants

have not defined the business necessity of the processes. Thus, even assuming, arguendo, that

Plaintiffs have not sufficiently proposed a less discriminatory alternative, they cannot be faulted

for that omission at this stage of the litigation. Although parties may move for summary

judgment as to a “part of [a] claim or defense,” Fed. R. Civ. P. 56(a), Defendants point to no

authority from this Circuit allowing parties to skip to the final step of a burden-shifting

framework without first carrying their burden in an intervening step.27 The Court declines to

allow Defendants to turn the burden-shifting framework on its head.

         Accordingly, Defendants’ motion for summary judgment on Plaintiffs’ disparate impact

claims are DENIED.

                      2. Disparate Treatment Claims

         Defendants move for summary judgment on Plaintiffs’ disparate treatment claims,

arguing that the statistical evidence cannot support an inference that discrimination was the

standard operating procedure at Goldman Sachs. Defs. Summ. J. Mem. at 31–36. For the

reasons already stated, summary judgment can neither be granted based on Defendants’ disparate

impact statistical causation argument, nor on their disparate treatment argument. There are



27
   Defendants’ cited cases do not compel a finding that they are entitled to summary judgment on the less
discriminatory alternative issue without first reaching that step in the burden shifting framework. Defs. Summ. J.
Mem. at 30. In Hernandez, the court addressed the less discriminatory alternative issue in dicta after determining
the plaintiff had neither met the burden of identifying a hiring process nor shown that a disparity existed.
Hernandez v. Off. of Comm’r of Baseball, No. 18 Civ. 9035, 2021 WL 1226499, at *11–12 (S.D.N.Y. Mar. 31,
2021). In El, the court granted summary judgment on a showing of business necessity because the defendant’s
evidence was not rebutted by plaintiff—the court then addressed the alternative policy issue in dicta. El v. Se. Pa.
Transp. Auth., 479 F.3d 232, 237, 239–49 (3d Cir. 2007). In Williams, the court first found that the defendant met
its burden of showing business necessity before addressing the less discriminatory alternative issue. Williams v.
Wells Fargo Bank, N.A., 901 F.3d 1036, 1040–42 (8th Cir. 2018). Finally, Smith arose under the Age
Discrimination in Employment Act (“ADEA”). Smith v. City of Des Moines, 99 F.3d 1466, 1468–69 (8th Cir.
1996). The court addressed business necessity before assuming, but not holding, that the less discriminatory
alternative step of the Title VII disparate impact framework applies to ADEA cases. Id. at 1473–74.

                                                         55
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 56 of 59




factual disputes on a number of material issues, including the proper level of aggregation and

how to analyze the cross-ruffing process, creating a dispute that must be resolved by a jury. In re

Zyprexa, 489 F. Supp. 2d at 285.

       Accordingly, Defendants’ motion for summary judgment on Plaintiffs’ disparate

treatment claims is DENIED.

                   3. Discrete Issues as to Certain Claims and Class Members

       In addition to their arguments regarding Plaintiffs’ disparate impact and treatment claims,

Defendants move for summary judgment as to certain claims and class members. Defs. Summ.

J. Mem. at 37–41. The Court shall address each of these miscellaneous arguments individually.

       First, Defendants’ argument that they are entitled to summary judgment as to cross-

ruffing, id. at 37–38, arises from a misunderstanding of what the Court held in its Class

Certification Order regarding promotions. Specifically, Defendants argue that Plaintiffs present

no evidence related to “cross-ruffing” as Defendants define it. Id. As the Court has explained,

cross-ruffing, for the purposes of this case, is the full Vice President-to-Managing Director

promotion process, a process Farber did study, see Farber Report ¶¶ 125–35. Because Farber

and Shaw disagree on whether the cross-ruffing process, as defined by the Court, caused a

gender-based disparity, summary judgment is inappropriate. See In re Zyprexa, 489 F. Supp. 2d

at 285 (quoting Daubert, 509 U.S. at 596).

       Next, Defendants argue that summary judgment is warranted with respect to the 360

review process before 2005, because the process was not fully implemented until 2004 and there

was insufficient data until 2005. Defs. Summ. J. Mem. at 38–39. Because the Court excluded

Farber’s testimony on the 360 review process for 2002 to 2004, Plaintiffs have not adduced any

evidence of disparate impact or treatment due to this process for those three years. See



                                                56
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 57 of 59




Robinson, 267 F.3d at 160 (disparate impact); City of New York III, 717 F.3d at 84 (disparate

treatment). Accordingly, Defendants’ motion for summary judgment for the 360 review process

for those three years only is GRANTED.

       Defendants also contend that they are entitled to summary judgment as to the 360 review

and quartiling processes after 2015. Defs. Summ. J. Mem. at 39–40. The Court agrees. Farber

has not put forward evidence of statistically significant differences based on gender after 2015.

See Farber Report ¶ 114; see also id. ¶ 10. Plaintiffs have, therefore, failed to support their

prima facie case. See Robinson, 267 F.3d at 160 (disparate impact); City of New York III, 717

F.3d at 84 (disparate treatment). The question of how the processes impacted pay after the

processes were no longer in use because of historical pay differences carrying forward is an issue

for damages in Phase II of this case. Accordingly, Defendants’ motion for summary judgment

for the 360 review and quartiling processes after 2015 only is GRANTED.

       Defendants next contend that they are entitled to summary judgment for self-sustaining

private wealth advisors, who work in the Investment Management division, because their

compensation was not tied to the 360 review or quartiling processes. Defs. Summ. J. Mem. at

40–41. It is uncontested that self-sustaining private wealth advisors are not included in the

normal compensation process because they are paid through commissions. Defs. 56.1 ¶ 70.

However, female Associate and Vice President self-sustaining private wealth advisors were

subjected to the 360 review and quartiling processes. Pls. 56.1 ¶ 1 (all Associates and Vice

Presidents in the three divisions were subject to the policies). Although they may not recover

damages given their differing compensation structure, they remain part of the class for the

liability phase. Issues of individual damages are not currently before the Court, as they shall be

addressed in Phase II of this case. Moreover, as to cross-ruffing, the Vice President self-



                                                 57
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 58 of 59




sustaining private wealth advisors are on equal footing as to promotions as are all other Vice

Presidents in the class. Accordingly, Defendants’ motion for summary judgment on this basis is

DENIED.

       Finally, Goldman Sachs moves for summary judgment as to three individuals who signed

liability releases. As the individuals have released Defendants of liability as to claims “known or

unknown,” Defs. 56.1 ¶ 73, this motion is GRANTED.

       Accordingly, Defendants’ motion for summary judgment is GRANTED in part, and

DENIED in part.

                                        CONCLUSION

       For the reasons stated above:

   •   Defendants’ motion to preclude the testimony of Goldberg is DENIED.

   •   Defendants’ motion to preclude the testimony of Butler as to paragraphs 62 through 67 of

       her report is GRANTED, and DENIED as to the remainder of her report.

   •   Defendants’ motion to preclude the testimony of Farber as to the 360 review process for

       2002 to 2004 and damages is GRANTED, and DENIED as to the remainder of his

       reports.

   •   Defendants’ motion to preclude the testimony of Yermack is DENIED as moot.

   •   Plaintiffs’ motion to preclude the testimony of Shaw as to disaggregation at the business

       unit level, the impact of removing outliers, and the subcomponents of the cross-ruffing

       process is GRANTED, and DENIED as to the remainder of her report.

   •   Plaintiffs’ motion to preclude the testimony of Stockdale is DENIED.




                                                58
    Case 1:10-cv-06950-AT-RWL Document 1337 Filed 03/17/22 Page 59 of 59




   •   Plaintiffs’ motion to preclude the testimony of Dunleavy as to the two statistical studies

       in his job relatedness reports and to prevent the Court from considering Dunleavy’s job

       analysis report when assessing Defendants’ decertification motion is DENIED.

   •   Plaintiffs’ motion to preclude the testimony of Dunn is GRANTED.

   •   Defendants’ motion for decertification is DENIED.

   •   Plaintiffs’ motion for summary judgment is DENIED.

   •   Defendants’ motion for summary judgment is GRANTED as to the 360 review process

       for 2002 to 2004, the 360 review and quartiling processes after 2015, and the three

       individuals who signed liability releases, and otherwise DENIED.

       The Clerk of Court is directed to terminate the motions at ECF Nos. 1184, 1187, 1194,

1239, and 1247.

       SO ORDERED.

Dated: March 17, 2022
       New York, New York




                                                59
